        Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 1 of 90



                  THE STATE EDUCATION DEPARTMENT / THE UNIVERSITY OF THE STATE OF NEW YORK / ALBANY, NY 12234




TO:                         P-12 Education Committee

FROM:                       Kimberly Young Wilkins

SUBJECT:                    Expanding the Pool of Applicants to Serve as Impartial
                            Hearing Officers to Hear Special Education Due Process
                            Complaints Filed in New York City

DATE:                       January 7, 2020

AUTHORIZATION(S):

                                         SUMMARY

Issue for Discussion

      Should the Board of Regents expand the pool of applicants to serve as impartial
hearing officers (IHOs) to hear special education due process complaints filed in New
York City?

Reason(s) for Consideration

      Review of policy.

Proposed Handling

       This issue will come before the Regents P-12 Education Committee for discussion
at the January 2020 meeting.

Background Information

       The New York City Department of Education (NYCDOE) is experiencing an
unprecedented number of special education due process complaints that has
overwhelmed its due process hearing system. On January 6, 2020, New York State
Department of Education (NYSED) records indicated that there were approximately
10,000 open special education due process complaints in New York City (NYC), as
compared to 209 in the rest of New York State. Currently, there are 68 IHOs certified by
NYSED to hear cases in NYC. However, recently, there have not been any, or only a
handful of, IHOs in rotation each day willing to be appointed to cases. IHOs, while
recruited, trained, and certified by NYSED, are independent contractors; they are not
employees of NYSED or NYCDOE. This fall, NYSED significantly expanded its


                                          P-12 (D) 3
                                                                         Hyman Decl. Ex. DD- 1
        Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 2 of 90



recruitment efforts to find qualified candidates to train and certify IHOs to help address
the volume of due process complaints in NYC. NYSED is preparing to have a new IHO
training session in March 2020. However, due to the multiplicity of due process system
issues in NYC, as of early January 2020, more than 1,300 complaints were awaiting initial
appointment of an IHO.

    NYCDOE has been placed under a Compliance Assurance Plan (CAP) and is required
to implement a comprehensive series of corrective action steps to improve the provision
of a free appropriate public education to preschool and school-age students with
disabilities — actions that are expected to eventually lead to a reduction in due process
complaint filings. Moreover, as part of the CAP, responding to deficiencies identified in
the February 2019 external review of New York City’s Impartial Hearing Office, NYCDOE
is required to implement several action steps to ensure that parents and students have
access to timely and meaningful due process1. The following actions are specifically
designed to address the current strains on NYCDOE’s due process complaint hearing
process and foster a more timely and responsive system for parents and students:

    •   Eliminate the role of the IHO in uncontested pendency, or stay-put, cases.
        NYCDOE’s current requirement that IHOs issue a pendency, or stay-put, order
        when there is no dispute as to the student’s placement burdens the availability of
        IHOs to conduct required and needed hearings, further worsening delays for
        families seeking resolution. Moreover, requiring an IHO order in uncontested
        pendency cases is inconsistent with the Individuals with Disabilities Education Act
        (IDEA).
    •   Implement a revised IHO Compensation Policy that ensures fair and equitable
        compensation for IHOs working in NYC, incentivizes the use of appropriate,
        standard legal practice, and provides a rate that will ensure that a sufficient number
        of IHOs are willing to accept appointment. The majority of IHOs serving in NYC
        have indicated to Department staff that they will not accept appointment to special
        education due process complaints until their compensation is increased.
    •   Ensure timely settlement of due process hearings. While a high number of due
        process hearing cases settle, NYCDOE experiences significant delays in finalizing
        settlements, with the process sometimes lasting two years. While parties await this
        long-delayed settlement resolution, the due process case is kept on the docket
        and the IHO remains assigned to the case, resulting in limited resources being
        absorbed into case management regarding these cases.
    •   Increase the use of mediation and other less adversarial dispute resolution options,
        including Individualized Education Program (IEP) facilitation.



1 Deusdedi Merced, Special Education Solutions, LLC, “External Review of The New York City Impartial
Hearing Office,” February 22, 2019. In January 2019, NYSED implemented a review of NYCDOE’s due
process system, to be conducted by Merced, so as to understand possible systemic factors contributing
to sharply rising numbers of due process complaints.


                                                  2                        Hyman Decl. Ex. DD- 2
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 3 of 90




Applicable Federal Law and State Regulations

       IDEA does not require IHOs be attorneys and, instead, requires IHOs have the
following:

      •   Knowledge of, and the ability to understand, the provisions of the Act, federal
          and State regulations pertaining to the Act, and legal interpretations of the Act
          by federal and State courts;
      •   Knowledge and ability to conduct hearings in accordance with appropriate,
          standard legal practice; and
      •   Knowledge of and ability to render and write decisions in accordance with
          appropriate, standard legal practice.

See Attachment A for a complete description of the federal statutory requirements for an
IHO.

       Section 200.1 of the Commissioner’s Regulations requires that an IHO have the
following qualifications:

      •   Be an individual admitted to the practice of law in the State of New York who is
          currently in good standing and who has a minimum of two years’ practice and/or
          experience in the areas of education, special education, disability rights or civil
          rights; or be an individual certified by the State of New York as an impartial
          hearing officer on September 1, 2001;
      •   Have access to the support and equipment necessary to perform the duties of
          an impartial hearing officer;
      •   Be certified by the Commissioner as an impartial hearing officer eligible to
          conduct hearings pursuant to Education Law;
      •   Successfully complete a training program, conducted by the Department, which
          program provides information regarding State and federal laws and regulations
          relating to the education of students with disabilities, the needs of such
          students, and the procedures involved in conducting a hearing, and in reaching
          and writing a decision;
      •   Possess knowledge of, and the ability to understand, the provisions of federal
          and State law and regulations pertaining to the Individuals with Disabilities
          Education Act and legal interpretations of such law and regulations by federal
          and State courts; and
      •   Possess knowledge of, and the ability to conduct hearings in accordance with
          appropriate, standard legal practice and to render and write decisions in
          accordance with appropriate standard legal practice.

    For the complete list of IHO requirements set forth in section 200.1(x) of the
Commissioner’s Regulations, see Attachment B.




                                             3                     Hyman Decl. Ex. DD- 3
          Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 4 of 90



        Since September 1, 2001, the Commissioner’s Regulations have required that an
IHO presiding over a special education due process hearing be an attorney admitted in
New York with two years of practice and/or experience in the areas of education, special
education, disability rights or civil rights. Prior to 2001, non-attorneys could serve as IHOs
in this State. Already certified IHOs who were not attorneys were grandfathered in and
could continue to serve as IHOs. Currently, there remain eight IHOs who are not
attorneys, one of whom serves in New York City.

       The 2001 regulations changes were adopted as part of a package of amendments
designed to increase the timeliness and quality of impartial hearings and decisions and,
additionally, to improve the “integrity of the impartial hearing process.” Public comment
indicated that the move toward having attorney IHOs would enhance the quality of
determinations and ensure that hearings were expeditiously, fairly, and competently
conducted.

       Of significance, three years after New York amended its regulations, in 2004, the
federal IDEA was reauthorized and amended, in relevant part, to require that IHOs
preside over IDEA complaints and render and write decisions “in accordance with
appropriate, standard legal practice” (emphasis added). While federal law and regulations
do not specifically require that an IHO be an attorney, the vast majority of states now
require IHOs to be attorneys2.

National Trends

        Nationwide, 43 states require IHOs to be attorneys. Special education experts
indicate that there is a nationwide gradual shift toward hearing officers who are attorneys.
According to a recent study, “State Due Process Hearing Systems Under the IDEA: An
Update,”3 published in March 2019, 42 states require IHOs to be attorneys, with the
remaining eight states using a varying percentage of non-attorney IHOs, and in a variety
of ways. Of note is that since the study’s publication, one of the states cited for using non-
attorneys, Indiana4, has moved to require that all new IHOs be attorneys (see Attachment
C). All of the states in the 7-PAK consortium5 require that IHOs be attorneys; however,
New York and Pennsylvania both still utilize a handful of non-attorney IHOs who were
grandfathered in as part of regulatory amendments.

        Currently, most of the few states that allow for non-attorney IHOs have IHO
qualification regulations that mimic the federal law. Oklahoma, however, requires that all
non-attorney hearing and appeal officers possess “a minimum of a Master's degree in
education, special education, psychology, or any related field” (Okla. Admin. Code
210:15-13-5).


2   Jennifer F. Connolly, PhD, Perry A. Zirkel, PhD, and Thomas A. Mayes, JD, “State Due Process
    Hearing Systems Under the IDEA: An Update,” Journal of Disability Policy Studies, March 2019,
    available at https://journals.sagepub.com/doi/abs/10.1177/1044207319836660.
3   Id.
4
    “Independent Hearing Officer (IHO) and Mediator Application-Indiana” available at
    https://www.doe.in.gov/specialed/iho-mediator-application.
5   California, Florida, Illinois, New York, New Jersey, Pennsylvania, Texas


                                                    4                       Hyman Decl. Ex. DD- 4
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 5 of 90



       However, because of the unprecedented crisis in New York City, there are
thousands of students and families waiting for decisions on their due process complaints.
Therefore, Department staff are presenting several options, including the use of non-
attorney IHOs in New York City, for the Board of Regents to consider in an effort to expand
the pool of qualified applicants to serve as IHOs. NYSED has arranged for Deusdedi
Merced, the consultant who conducted the 2019 external review of the NYCDOE impartial
hearing office to make a presentation at the January Board of Regents meeting to respond
to questions by the Board of Regents. Merced is a national expert on special education
due process issues, having served as an IDEA hearing officer, mediator, and facilitator in
hundreds of matters; including serving as the chief hearing officer for the District of
Columbia, where heh played a key role in assisting the District in being released from
court supervision.

      See Attachments D and E for the external review report and the May 2019 New
York City Department of Education Compliance Assurance Plan.

Proposed Regulatory Changes Regarding Qualifications of IHOs

      The Board of Regents has the following options to expand the pool of qualified
IHOs in New York City:

      •   Allow non-attorneys to serve as IHOs.
          o Require non-attorneys to have experience in special education and IDEA;
          o Provide them with training on writing decisions and the due process system;
          o If expand to non-attorneys, make this change time-limited to only address
              the backlog (amendments could grandfather in non-attorney IHOs certified
              to address the New York City backlog);
      •   Open applications to attorneys admitted to practice in states other than New
          York;
      •   Amend the practice and experience requirements for attorney IHOs in the
          following ways:
          o Expand the areas of practice to include administrative law and employment
              law;
          o Reduce the years of experience required from two to one;
          o Render these specified qualifications preferred but not required;

Other Regulatory Changes Regarding Qualifications of IHOs

       In response to issues identified in the NYCDOE CAP, NYSED’s Office of Special
Education has been preparing for the Board of Regents’ review of other possible
amendments to the Commissioner’s Regulations to also address deficiencies in the
hearing process that might help alleviate some of the pressure on the NYCDOE special
education due process system. Proposed regulatory amendments would bring the State
regulations into better conformity with the federal requirements in the following areas:




                                            5                     Hyman Decl. Ex. DD- 5
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 6 of 90



      •   Require a prehearing conference, so as to prevent delays in complaint
          resolution by identifying in a timely manner the relevant issues, exhibits, and
          party availability;
      •   Eliminate the restriction that IHOs only grant an extension of a maximum of 30
          days in complaints, to eliminate the burden of unnecessary status conferences
          in New York City, where settlement approvals may take a year or longer;
      •   Require IHOs to render a decision in a format consistent with NYSED
          guidelines and in accordance with the Family Education Rights and Privacy Act
          (FERPA);
      •   Provide for the use of alternative technology, specifically telephonic testimony
          and the use of video-conferencing, in due process hearings to provide parties
          greater access to hearings and to alleviate scheduling problems impacting due
          process hearings;
      •   Specify justifiable grounds for recusals, or voluntary withdrawals from cases by
          IHOs, to conform with standard legal practice allowing for recusals when a
          hearing officer has a good faith belief that he or she has a conflict of interest;
      •   Require local education agencies to have a compensation policy for IHOs that
          provides a rate to ensure that a sufficient number of IHOs are available to serve
          in the district; and
      •   Require New York City IHOs to accept a minimum number of cases annually
          and set a maximum number of cases that a New York City IHO may accept.

Related Regents Items

January 2014: Proposed Amendment to Sections 200.1, 200.5 and 200.16 of the
Regulations of the Commissioner of Education Relating Special Education Impartial
Hearings
(https://www.regents.nysed.gov/common/regents/files/114p12a2%5B1%5D_0.pdf)

October 2013: Proposed Amendment of Sections 200.1, 200.5 and 200.16 of the
Regulations of the Commissioner of Education Relating to Special Education Impartial
Hearings
(https://www.regents.nysed.gov/common/regents/files/1013p12d3%5B1%5D.pdf)

November 2012: Proposed Amendment of Sections 200.1, 200.5 and 200.16 of the
Regulations of the Commissioner of Education Relating to Special Education Impartial
Hearings
(https://www.regents.nysed.gov/common/regents/files/documents/meetings/
2012Meetings/November2012/1112p12a4.pdf)

January 2012: Proposed Amendment of Sections 200.1 and 200.5 of the Regulations of
the Commissioner of Education Relating to Special Education Impartial Hearings
(https://www.regents.nysed.gov/common/regents/files/documents/meetings/2012Meetin
gs/January2012/112p12d3.pdf)




                                            6                     Hyman Decl. Ex. DD- 6
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 7 of 90



June 2012: Proposed Amendment of Sections 200.1 and 200.5 of the Regulations of the
Commissioner of Education Relating to Special Education Impartial Hearings
(https://www.regents.nysed.gov/common/regents/files/documents/meetings/2012Meetin
gs/June2012/612p12d1.pdf)

January 2009: Dispute Resolution in Special Education – A Review and Analysis of New
York State Due Process System
(https://www.regents.nysed.gov/meetings/2009/2009-01-90)

February 2004: Impartial Hearings for Students with Disabilities
(https://www.regents.nysed.gov/common/regents/files/documents/meetings/2004Meetings/
February2004/0204aemscvesida1.htm)

Recommendation

       With approval of the Board of Regents, NYSED will continue to engage
stakeholders in discussions on expanding the pool of qualified IHOs in New York City and
other issues relating to the special education due process system and will come back to
you in the next couple of months with proposed regulatory changes.




                                           7                    Hyman Decl. Ex. DD- 7
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 8 of 90

                                                                           Attachment A


Federal Requirements for Impartial Hearing Officers:

34 C.F.R. § 300.511 (c)

(c) Impartial hearing officer.

    (1) At a minimum, a hearing officer—

        (i) Must not be—

            (A) An employee of the SEA or the LEA that is involved in the education or
                care of the child; or

            (B) A person having a personal or professional interest that conflicts with the
                person's objectivity in the hearing;

        (ii) Must possess knowledge of, and the ability to understand, the provisions of
             the Act, Federal and State regulations pertaining to the Act, and legal
             interpretations of the Act by Federal and State courts;

        (iii) Must possess the knowledge and ability to conduct hearings in accordance
              with appropriate, standard legal practice; and

        (iv) Must possess the knowledge and ability to render and write decisions in
             accordance with appropriate, standard legal practice.

    (2) A person who otherwise qualifies to conduct a hearing under paragraph (c)(1) of
        this section is not an employee of the agency solely because he or she is paid by
        the agency to serve as a hearing officer.

    (3) Each public agency must keep a list of the persons who serve as hearing officers.
        The list must include a statement of the qualifications of each of those persons.

(Authority: 20 U.S.C. 1415(f)(1)(A), 1415(f)(3)(A)-(D))
AUTHORITY: 20 U.S.C. 1221e–3, 1406, 1411–1419, and 3474; Pub.L. 111–256, 124
Stat. 2643; unless otherwise noted.




                                            8
                                                                  Hyman Decl. Ex. DD- 8
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 9 of 90

                                                                             Attachment B


State Regulations Regarding IHO Qualifications:

8 NYCRR 200.1(x)

(x)   Impartial hearing officer means an individual assigned by a board of education
      pursuant to Education Law, section 4404(1), or by the commissioner in accordance
      with section 200.7(d)(1)(i) of this Part, to conduct a hearing and render a decision.
      No individual employed by a school district, school or program serving students
      with disabilities placed there by a school district committee on special education
      may serve as an impartial hearing officer and no individual employed by such
      schools or programs may serve as an impartial hearing officer for two years
      following the termination of such employment, provided that a person who
      otherwise qualifies to conduct a hearing under this section shall not be deemed an
      employee of the school district, school or program serving students with disabilities
      solely because he or she is paid by such schools or programs to serve as an
      impartial hearing officer. An impartial hearing officer shall:

      (1)   be an individual admitted to the practice of law in the State of New York who
            is currently in good standing and who has a minimum of two years practice
            and/or experience in the areas of education, special education, disability
            rights or civil rights; or be an individual certified by the State of New York as
            an impartial hearing officer on September 1, 2001;

      (2)   have access to the support and equipment necessary to perform the duties
            of an impartial hearing officer;

      (3)   be independent, shall not be an officer, employee or agent of the school
            district or of the board of cooperative educational services of which such
            school district is a component, or an employee of the Education Department,
            shall not have a personal or professional interest which would conflict with
            his or her objectivity in the hearing, and shall not have participated in any
            manner in the formulation of the recommendation sought to be reviewed; and

      (4)   be certified by the commissioner as an impartial hearing officer eligible to
            conduct hearings pursuant to Education Law, section 4404(1) and subject to
            suspension or revocation of such certification by the commissioner for good
            cause in accordance with the provisions of section 200.21 of this Part. In
            order to obtain and retain such a certificate, an individual shall:

            (i)   successfully complete a training program, conducted by the
                  department, which program provides information regarding State and
                  Federal laws and regulations relating to the education of students with
                  disabilities, the needs of such students, and the procedures involved in
                  conducting a hearing, and in reaching and writing a decision;




                                             9
                                                                   Hyman Decl. Ex. DD- 9
Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 10 of 90




    (ii)    attend such periodic update programs as may be scheduled by the
            commissioner;

    (iii)   annually submit, in a format and by a date prescribed by the
            commissioner, a certification that the impartial hearing officer meets the
            requirements of paragraphs (1), (2) and (3) of this subdivision;

    (iv)    possess knowledge of, and the ability to understand, the provisions of
            Federal and State law and regulations pertaining to the Individuals with
            Disabilities Education Act and legal interpretations of such law and
            regulations by Federal and State courts;

    (v)     possess knowledge of, and the ability to conduct hearings in
            accordance with appropriate, standard legal practice and to render and
            write decisions in accordance with appropriate standard legal practice;

    (vi)    be willing and available to accept appointment to conduct impartial
            hearings. Notwithstanding the provisions of section 200.21 of this Part,
            unless good cause has been provided to the commissioner including,
            but not limited to, cause resulting from poor health as certified by a
            physician, active military services or other similar extenuating
            circumstances, the certification of an impartial hearing officer shall be
            rescinded upon a finding that the impartial hearing officer was not willing
            or available to conduct an impartial hearing within a two-year period of
            time.




                                      10
                                                            Hyman Decl. Ex. DD- 10
         Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 11 of 90

                                                                             Attachment C


Percentage-Range Distribution of Impartial Hearing Officers Who Are Attorneys for
Each State System.

Range (number) Statesa

100% (n = 42) AL, AK, AZ, CA, CO, CT, DC, FL, GA, HI, ID, IL, IA, KS, KY, LA, ME, MD,
MA, MI, MN, MO, MT, NE, NV, NH, NJ, NC, ND, OH, OR, RI, SD, TN, TX, UT, VT, VA,
WA, WV, WI, WY

76%–99% (n = 5) MS, NM, NY, PA, SC

51%–75% (n = 3) AR, IN*, OK

26%–50% (n = 1) DEb

0% (n = 0)
a   The six most active states for adjudicated hearings are designated in bold text.
b   Delaware has a tripartite panel in which the neutral is an attorney.

* Since this survey, Indiana has moved to require that all new IHOs be attorneys.


Adapted from: Jennifer F. Connolly, PhD, Perry A. Zirkel, and Thomas A. Mayes, JD, “State Due
Process State Due Process Hearing Systems Under the IDEA: An Update,” Journal of Disability
Policy Studies, March 2019, available at
https://journals.sagepub.com/doi/abs/10.1177/1044207319836660.




                                               11
                                                                   Hyman Decl. Ex. DD- 11
Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 12 of 90


                                                            Attachment D




                          REPORT
                   EXTERNAL REVIEW OF
        THE NEW YORK CITY IMPARTIAL HEARING OFFICE


                           Submitted by:

                         Deusdedi Merced
                         External Reviewer

                  Special Education Solutions, LLC




                               Filed

                         February 22, 2019




                                                     Hyman Decl. Ex. DD- 12
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 13 of 90




                            TABLE OF CONTENTS

I.     INTRODUCTION………………………………………………………………………………………6

II.    INITIATION OF EXTERNAL REVIEW AND SCOPE ……..……..………………7

       A.    Foundation for the Findings in this Report…………………………..………………8

       B.    Structure of the Report…………………………………………..………….……………..10

III.   OVERVIEW………………………………………………..………………………………..………….11

       A.    In General………………………………………………………………………………………..11

       B.    By the Numbers………………………………………..………………………………………11

             1.   Comparison to States with Similar Demographics and Issues…..…11

             2.   Number of Due Process Complaints Filed……………………..…..……..13

             3.   Number of Hearings and Conferences Scheduled in
                  NYC Per Day…………………………………………………………………..………15

             4.   Number of Hearings Adjudicated………………………………..……………15

             5.   Number of Pendency Hearings………………………………………..……….16

             6.   Number of Extensions and Recusals……………………...………….……..16

             7.   Average Case Length (in days)…………….…………………………………...18

             8.   Number of IHOs………………………………..……………………………………19

             9.   In Sum………………………………………..…………………………………..…….19

       C.    Key Observations……………………………..…………………..……………….........….20

             1.   Two Masters……………………………..……………………………………………20

             2.   SED’s Commitment to Change……………………..………..………………..20

             3.   Interconnectedness…………………….………….…………………………….…22




                                       2
                                                         Hyman Decl. Ex. DD- 13
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 14 of 90




IV.   ADDITIONAL FINDINGS SPECIFIC TO TARGETED AREAS.…………....22

      A.    NYCIHO – Generally…….…………………………………………………..……………..22

            1.    Impartiality…………………….………………………………………………...…..22

            2.    Physical Space……….……………………………………………………………….24

            3.    Budget and Availability of Funds…………………………..………...………27

      B.    IHO Compensation Policy..…………………………………………………..…………..29

      C.    Insufficient Number of Hearing Rooms….……………………………………..…..32

      D.    Insufficient Number of School District Representatives…………………..…..33

      E.    Appointment and Recusal….……………………………………………..………………34

      F.    Extensions………………………………………………………………………..……………..35

      G.    Decision Process…………………………………………………………..…….……………36

V.    DUE PROCESS IMPLICATIONS……………………………………………..................37

      A.    Physical Space………………………………………………………………………………….37

            1.    Inadequate Number of Hearing Rooms…………………………………….37

            2.    Poor Ventilation/Temperature Control…………………………………….37

            3.    Unkempt Hearing Rooms……………………………………………………....38

            4.    Confidentiality Breaches……………………………………………………..….38

                  a.    Open Doors……………………..…………………………………………..38

                  b.    Poor/Non-Existent Insulation……………………………………….38

                  c.    Storing Evidence in Room 202C…………………………………….38

            5.    Lack of Amenities…………………………………………………………………..39

            6.    Inadequate Waiting Area…………………………………………………….…..39




                                       3
                                                         Hyman Decl. Ex. DD- 14
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 15 of 90




       B.    Payments and Compensation………………………………………………………….…39

             1.   Payment Delays……………………………………………………………………..39

             2.   IHO Compensation…………………………………………………………………40

       C.    School District Representatives……………………………………………….………...42

             1.   Limited Number of School District Representatives…………………..42

       D.    Hearing Process………………………………………………………………………..……..42

             1.   Timely Appointment of IHOs and Subsequent Recusals……..……..42

             2.   Questionable Extensions…………………………………………………..…….43

             3.   Decision Processing………………………………………………………..………44

VI.    SED’s AUTHORITY TO ENSURE COMPLIANCE………………………….…..…44

VII.   RECOMMENDATIONS – FOR IMMEDIATE ACTION…………….….…….…44

       A.    Physical Space………………………………………………………………………………….45

             1.   Expansion of the NYCIHO to Accommodate Additional
                  Hearing Rooms………………………………………………………………………45

             2.   Ventilation/Temperature Control…………………..………………………..45

             3.   Cleanliness and Upkeep………………………………………………..………..45

             4.   Sound Proofing……………………………………………………………..……….45

             5.   Access to Amenities……………………………………………………………..…46

             6.   Waiting Area and Access to Privacy………………………………………….46

       B.    Payments and Compensation…………………………………………………………….46

             1.   Prompt Payments……………………………………….………………………….46

             2.   IHO Compensation ………………………………………………………………..46

       C.    School District Representatives………………………………………………………….47




                                      4
                                                       Hyman Decl. Ex. DD- 15
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 16 of 90




      D.    Hearing Process...........................................................................................47

            1.       Appointment of IHOs and Recusals………………………………………….47

            2.       Extensions……………………………………………………………………………..47

            3.       Decision Processing………………………………………………………………..47

            4.       Pendency Orders……………………………………………………………..……..48

VIII. ADDITIONAL CONSIDERATIONS……………………….………………………………48

IX.   CONCLUSION………………………..……………………………………………..……………….49




                                                       5
                                                                                   Hyman Decl. Ex. DD- 16
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 17 of 90




I.     INTRODUCTION

        Under the Individuals with Disabilities Education Act (IDEA)1 and its
implementing regulations2, a free and appropriate public education (FAPE) must be
available to all students residing in the State between the ages of 3 and 21.3 In New York
State, children with disabilities between the ages of 3 and 5, as well as 18 through 21, are
entitled to FAPE.4 Whenever a dispute arises between the student’s parent(s) and the
school district on any of the matters relating to the identification, evaluation or
educational placement of a student with a disability or the provision of a FAPE to the
student, the parent(s) or the school district must have an opportunity for an impartial
due process hearing.5 The hearing must be conducted by the New York State Education
Department (SED),6 and an impartial hearing officer (IHO) must be appointed to hear
and decide the dispute between the parent(s) and the school district.7

        The IDEA sets forth minimum qualifications for hearing officers who preside
over IDEA hearings.8 Consistent with the IDEA, New York State sets forth specific
qualifications for hearing officers. Specifically, the hearing officer must be admitted to
the practice of law in New York; have a minimum of two years practice/experience in
education/special education/disability rights/civil rights; have access to
support/equipment necessary to perform duties; and be certified by the New York State
Commissioner of Education as an impartial hearing officer, which requires, among other
things, successful completion of training/update programs and annual submission of a
certification that these requirements have been met.9

       In New York State, each school district must adopt a written policy that
establishes administrative practices and procedures for the selection and appointment
of an impartial hearing officer consistent with procedures set forth in the Regulations of

       1 In 2004, Congress reauthorized the Individuals with Disabilities Education Act
as the Individuals with Disabilities Education Improvement Act. The amendments
provide that the short title of the reauthorized and amended provisions remains the
Individuals with Disabilities Education Act. See Pub. L. 108-446, § 101, 118 Stat. at
2647; 20 U.S.C. § 1400 (2006) (“This chapter may be cited as the ‘Individuals with
Disabilities Education Act.’”).
       2 Implementing regulations followed the reauthorized IDEA in August 2006. See

34 C.F.R. Part 300 (August 14, 2006). In December 2008, the regulations were clarified
and strengthened in the areas of parental consent for continued special education and
related services and non-attorney representation in due process hearings. See 34 C.F.R.
Part 300 (December 1, 2008). In June 2017, the regulations were further amended to
conform to changes made to the IDEA by the Every Student Succeeds Act (ESSA).
       3 34 C.F.R. § 300.101(a).
       4 N.Y. EDUC. LAW Art. 89 § 4402.
       5 20 U.S.C. § 1415(b)(6)(A); 34 C.F.R. §§ 300.507(a), 300.511(a).
       6 34 C.F.R. § 300.511(b).
       7 8 NYCRR §§ 200.2(b)(9), 200.2(e)(1), 200.5(j)(3).
       8 See, generally, 20 U.S.C. § 1415(f)(3)(A).
       9 8 NYCRR § 200.1(x)(1) – (4).



                                             6
                                                                 Hyman Decl. Ex. DD- 17
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 18 of 90




the Commissioner of Education.10 Accordingly, the New York City Department of
Education (NYCDOE) has done so and created the New York City Impartial Hearing
Office (NYCIHO) to oversee the “administrative and clerical aspects of [IDEA] impartial
[due process] hearings” for the NYCDOE.11 Specifically, the NYCIHO –

      is responsible for processing requests for impartial hearings, appointing [IHOs],
      calendaring hearing dates, communicating with parties, providing transcription,
      interpretation, translation, other hearing-related services, processing evidence,
      and issuing reports analyzing these processes.12

II.   INITIATION OF EXTERNAL REVIEW AND SCOPE

       On January 24, 2018,13 Assistant Commissioner Christopher Suriano notified the
NYCIHO and the NYCDOE in writing of SED’s plan to implement an independent
review of the NYCIHO (Suriano Letter).14 The purpose of the review was broad – to
better understand the functioning of the NYCIHO and its policies, procedures and
practices specific to special education impartial hearings.15 In scope, however, the
review focused on, though not limited to, the assignment of hearings to IHOs, the
payment structure for IHOs, the specific assistance provided to IHOs by the NYCIHO,
and the observation, availability and suitability of hearing room space.16



      10  8 NYCRR §§ 200.2(b)(9).
      11  See New York City Department of Education, Standard Operating Procedures
Manual: Impartial Hearing Office (SOPM), p. 6. (March 2018) (on file with the
NYIHO).
       12 Id.
       13 Delays to the prompt completion of this independent review are directly

attributable to actions taken by the NYCIHO and/or NYCDOE, including, for example,
requiring that SED share the independent reviewer’s contract with the SED to verify his
access to personally identifiable information despite the notice given to the NYCIHO
and NYCDOE clearly specifying that the reviewer was authorized to access personally
identifiable information; scheduling meetings for weeks later than requested (e.g.,
notice given on February 6, 2018 with proposed meeting dates – five in total – in late
February but meeting not taking place until March 19, 2018 despite reviewer offering
additional dates in early March 2018); and, the NYCIHO releasing requested documents
and information in piecemeal fashion after “management’s approval.” In a number of
occasions, the SED was called up to assist the reviewer in securing the full and prompt
cooperation of the NYCIHO and NYCDOE despite the NYCIHO and NYCDOE being
informed that the reviewer had SED’s “full authority.”
       14 See Letter from Christopher Suriano, Assistant Commissioner, Office of Special

Education, New York State Department of Education, to Chief Administrator, Impartial
Hearing Office, New York City Department of Education (January 24, 2018) (on file
with the New York State Education Department) (Suriano Letter).
       15 Id.
       16 See id.



                                           7
                                                               Hyman Decl. Ex. DD- 18
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 19 of 90




        This written report is intended to help the SED better understand the functioning
of the NYCIHO and to determine whether its policies, procedures, and practices specific
to special education impartial hearings in the areas identified in the Suriano Letter are
consistent with basic elements of due process hearings and the rights of the parties set
out in the IDEA and New York State law. The time period for this review17 and limited
resources available to the reviewer18 did not permit for a more comprehensive and
forensic review of the NYCIHO. Nonetheless, it is felt that sufficient, appropriate
information and evidence was obtained to provide a reasonable basis for the findings
and conclusions included in this report and that the objectives of the review have been
met.

A.    Foundation for the Findings in this Report

       Various information sources were relied upon in reaching the findings,
conclusions and recommendations contained in this report. These sources include key
interviews of NYCIHO staff and stakeholders, the review of documents and information
provided by the NYCIHO and stakeholders, and informal observations of the reviewer.
Specifically, the primary activities that were undertaken include:

      1.     Interview of Chief Administrator, NYCIHO.

      2.     Interview of Deputy Chief Administrator, NYCIHO.

      3.     Interview of Operations Manager, NYCIHO.

      4.     Interviews of various NYCIHO personnel: I.H.S. System Administrator;
             Recusal Processor; Case Manager; Accounting Clerk; Hearing Room




      17  Though SED did not set a specific timeline by when the review was to be
completed and this report submitted, SED’s on-going monitoring activities and the
reviewer’s preliminary findings suggests that a crisis is imminent that may compromise
access to due process for students residing in the New York City school district requiring
immediate, written feedback to SED from the reviewer.
       18 In scope, this review, as proposed by the reviewer as an alternative to

developing a formal, IHO evaluation protocol as required under the contract between
Special Education Solutions, LLC and SED, was simply intended to identify “any
practices that are inconsistent with standard and best legal practices and/or may
impede the timelines and efficiency of the hearing system.” It had not been intended to
be a formal audit of the NYCIHO. See Draft Letter from Deusdedi Merced, Managing
Member, Special Education Solutions, LLC, to Cathryn Tisenchek, Supervisor, Due
Process Unit, Office of Special Education, New York State Education Department (May
26, 2017) (on file with the New York State Education Department). As such, this report
does not provide an in-depth analysis of identified practice failures.


                                            8
                                                                Hyman Decl. Ex. DD- 19
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 20 of 90




             Coordinator; Decision Processor; Claims Processor19; Appeals Processor20;
             and Case Non-Compliance Support21.

      5.     Interview of Managing Attorney 1, Managing Attorney 2, and Attorney,
             Special Education Unit, Office of General Counsel, NYCDOE.

      6.     Interview of Senior Director of Representation and Deputy Director,
             Impartial Hearing Representation Office (IHRO), Special Education
             Office, Division of Specialized Instruction and Student Support, NYCDOE.

      7.     Interview of Executive Director and Senior Policy Advisor, Committees on
             Special Education, NYCDOE.

      8.     Discussion with General Counsel and Director of Settlements and
             Adjudications, Office of the Comptroller of the City of New York.

      9.     Discussions with numerous IHOs, both individually and in an open
             meeting of IHOs who wished to attend held on Tuesday, November 13,
             2018.

      10.    Discussions with numerous attorneys of prominent legal services agencies
             and private law firms who appear before the NYCIHO.

      11.    Review of numerous documents and information provided by the
             NYCIHO.

      12.    Review of various Audit Reports authored by the Office of the Comptroller
             of the City of New York.

      13.    Review of various documents and information provided by attorneys of
             prominent legal services agencies and private law firms who appear before


      19  In the initial organizational chart dated March 12, 2018, provided by the
NYCIHO to the reviewer, Claims Processor had been identified under the branch titled
“Attorneys.” A corresponding Job Description titled “Attorneys” was provided to the
reviewer. The Job Description document does not include the role of “Claims
Processor.” On November 30, 2018, the NYCIHO provided a revised organizational
chart dated November 29, 2018, identifying Claim Processor as the “Claims Processor.”
       20 Appeals Processor, like Claims Processor, had initially been identified under

the branch titled “Attorneys.” Subsequently, as of November 29, 2018, Appeals
Processor was identified as the “Appeals Processor.”
       21 In the March 12, 2018, organizational chart, Case Non-Compliance Support

had been identified under the branch titled “System Administrators.” He presented
himself during the interview as the “CFUS Processor.” The November 29, 2018,
organizational chart identifies him under the branch titled “Case Non-Compliance
Support.”


                                           9
                                                               Hyman Decl. Ex. DD- 20
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 21 of 90




             the NYCIHO in support of concerns brought to the reviewer’s attention.

      14.    Discussion with SED personnel from the Office of Special Education and
             Office of Counsel.

      15.    Review of data provided by SED.

      16.    Informal observations of available hearing rooms and day-to-day
             functioning of the NYCIHO (i.e., three full-day site visits).

       Discussions with IHOs and attorneys of prominent legal services agencies and
private law firms were held in confidence to increase level of participation and
information sharing.22 As such, this report does not attribute to the IHOs or the
attorneys of prominent legal services agencies and private law firms their individual
comments.

      The documents and informal observations were used to inform the interview
process, corroborate the interview content, and to help generate the findings,
conclusions and recommendations included in this report.

B.    Structure of the Report

       This report provides a general overview of the New York State hearing system
and, in particular, how New York City compares to the rest of the State. The overview is
then followed by various findings related to the operation of the NYCIHO. The purpose
of the overview and findings is to provide context to the recommendations included
within this report.




      22  Initially, few IHOs shared information with the reviewer. However, in time,
with additional outreach by the reviewer and his visibility during the three onsite visits
to the NYCIHO, and assurances that information shared would not identify the source,
more IHOs contacted the reviewer to informally share their experiences and thoughts
regarding the various matters within the scope of the review. The same was true of the
attorneys of prominent legal services agencies and private law firms. Though the level
of participation improved over time, greater participation would have been preferable
but, as explained by those who guardedly participated, participation was stifled by fear
of retaliation or other adverse consequences and a sense of futility fed by cynicism about
whether anything would change.


                                           10
                                                                Hyman Decl. Ex. DD- 21
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 22 of 90




III.   OVERVIEW

A.     In General23

       Like most States, and consistent with the IDEA, New York State offers three
dispute resolution options: mediation,24 a written state complaint process,25 and due
process hearings.26 Between September 1, 2015 and August 31, 2018, SED also offered –
on a pilot program basis – IEP facilitation27 to all Long Island school districts and a
limited number of New York City community school districts and committees on special
education. In September 2018, there was a limited expansion of IEP facilitation
statewide, and SED anticipates a permanent SED-sponsored statewide IEP facilitation
program in January 2020.

B.     By the Numbers

1.     Comparison to States with Similar Demographics and Issues

       The number of due process complaints filed in New York State is considerable.
The most recent data available, i.e., school year (SY) 2016-17, illustrates New York
State’s dominance over the other six States that comprise the 7-PAK States (i.e., New
York, California, Florida, Illinois, New Jersey, Pennsylvania, and Texas),28 with New
York State having 35%29 more than California, 3106% more than Florida, 1850% more
than Illinois, 366% more than New Jersey, 658% more than Pennsylvania, and 1870%
more than Texas. (See Figure 1.) In fact, New York State, in SY 2016-17, almost
matched the total number of due process complaints filed in the other six States,

       23   The reviewer acknowledges with appreciation source material provided by
SED.
       24  8 NYCRR § 200.5(h).
       25  8 NYCRR § 200.5(l).
        26 8 NYCRR § 200.5(i). An ancillary dispute resolution process associated with

due process hearings is the resolution meeting process required by IDEA and,
accordingly, offered in New York State. 8 NYCRR § 200.5(j)(2).
        27 Facilitated IEP team meetings is a rapidly growing alternative process available

to school districts and parents who may be experiencing difficulty in reaching
agreement during the IEP development process. A neutral third party, known as a
facilitator, who is not a member of the IEP team and does not have a relationship with
either the school district or the parent(s), works with the IEP team when there is
impasse or a strained relationship between the school district and the parent(s) to help
guide the process.
        28 The 7-PAK States is a consortium of the seven largest States that the National

Association of State Directors of Special Education, Inc. (NASDSE) determined to have
both similar demographics (e.g., general population, diversity, significant rural and
inter-city populations) and issues in the delivery of special education programs to its
students with disabilities. (NASDSE Representative, personal communication, January
11, 2019).
        29 Percentages are rounded up to the next whole number at .5 or above.



                                            11
                                                                 Hyman Decl. Ex. DD- 22
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 23 of 90




missing the mark by approximately 1300 due process complaints. The trend points
higher. (See Figure 2.)

Figure 130
2016-17 Comparisons with Similar Size States

                              NY       CA      FL       IL     NJ      PA      TX

        DPCs FILED           6027     4467     188     309    1292     795     306


 RESOLUTION MEETINGS         5785     1434     54      40      42      534     87
        HELD


  RESOLUTION MEETING
      AGREEMENTS              164      448     16      17      30      172     31


   FULLY ADJUDICATED          683      134      9      10      75      45      14
       HEARINGS


 DECISIONS WITHIN 45-         96       31       3       2      52      13         1
     DAY TIMELINE


   DECISIONS WITHIN           482      102      6       8      22      32      13
  EXTENDED TIMELINES


      DPCs PENDING           2363     1031     25      36      169     173     66


   DPCs CLOSED OTHER         2981     3302     154     263    1048     577     226
   THAN BY DECISION31




      30  The data represented here is compiled from a review of The Center for
Appropriate Dispute Resolution in Special Education (CADRE) State (Part B) Dispute
Resolution Data Summaries. CADRE is funded by the Office of Special Education
Program (OSEP) at the U.S. Department of Education to serve as the National Center on
Dispute Resolution in Special Education. OSEP administers the IDEA. The information
in the Data Summaries is provided by each State to OSEP on an annual basis.
       31 This number represents due process complaints that were withdrawn,

dismissed, or resolved without a hearing.


                                         12
                                                             Hyman Decl. Ex. DD- 23
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 24 of 90




Figure 232
NYC Trend

                SY 2014-15     SY 2015-16        SY 2016-17      SY 2017-18   SY 2018-19

 STATEWIDE         5200            5464             6282            7635          6972
                                                                              (as of 01/11/19)


     NYC        4734 (91%)     5026 (92%)        5779 (92%)      7144 (94%)   6723 (96%)


     ROS         466 (9%)        438 (8%)         503 (8%)        491 (6%)     249 (4%)


LEGEND:      STATEWIDE – ALL LOCAL EDUCATIONAL AGENCIES IN NYS
             NYC – NEW YORK CITY
             ROS – REST OF STATE


2.    Number of Due Process Complaints Filed

       The overwhelming number of due process filings are in New York City, with the
school district consistently commanding over 90% of the total number of due process
complaints filed statewide since the 2014-15 school year. 33 (See Figure 2, above.)
Further, within a four-school year span (i.e., 2014-15 through 2017-18), New York City
had a 51% increase in the number of due process complaints filed (see id.), with the
average number of due process complaints filed per day steadily increasing (see Figure

      32   The data points in Figure 2 were provided by SED. The numbers in Figure 2 do
not correspond with the numbers reported to OSEP on an annual basis because there
are a number of DPCs Filed prior to July 1 each year that are entered after the federal
reporting date of July 1. Compare Figure 1, DPCs Filed for SY 2016-17 (i.e., 6027), with
Figure 2, DPCs Filed for SY 2016-17 (i.e., 6282).
        33 Noteworthy, the number of due process complaints filed in New York City does

not include thousands of other requests for tuition reimbursement sought through a 10-
Day Notice (TDN) alone. (Interview of Managing Attorney 1, Managing Attorney 2, and
Attorney, Special Education Unit, Office of General Counsel, NYCDOE.) Under IDEA, a
parent may file a due process complaint seeking tuition reimbursement from the school
district for alleged denials of a free appropriate public education. IDEA requires that
the parent provide the school district with timely notice of the claim. The failure to
provide timely notice is a consideration in whether to award reimbursement. In 2014,
New York City “fast-tracked” reimbursement claims by permitting families to file a TDN
alone without a corresponding due process complaint. See Press Release, Office of the
Major, Mayor de Blasio and Speaker Silver Announce New Steps to Help Families of
Students with Disabilities, June 24, 2014, https://www1.nyc.gov/office-of-the-
mayor/news/306-14/mayor-de-blasio-speaker-silver-new-steps-help-families-students-
disabilities#/0. Accessed Jan. 18, 2019. It is estimated that between 13,000 and 15,000
TDNs and due process complaints were filed in New York City in 2017 and 2018.
(Interview of Managing Attorney 1, Managing Attorney 2, and Attorney, Special
Education Unit, Office of General Counsel, NYCDOE.)


                                            13
                                                                   Hyman Decl. Ex. DD- 24
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 25 of 90




3). The reasons for this are beyond the scope of this review, though some attribute it to
administrative changes made by Mayor Bill de Blasio in 2014 that made it easier and
less litigious for families with students with disabilities in private schools to seek
reimbursement of tuition and related expenses.34

Figure 335
Average NYC Filings Per Day

   SCHOOL YEAR           AVG. PER DAY

       2014-15                   19


       2015-16                   20


       2016-17                   23


       2017-18                   29


       2018-19                   51
                           (as of 01/14/19)



       The transactional costs of these claims to the New York City school district is
substantial. For example, in fiscal year (FY) 2017,36 New York City processed 4184
special education claims resulting in approximately a $280 million payout, which
represents 82% of all claims paid out by New York City in FY 2017.37 In FY 2015, after
Mayor de Blasio’s administrative changes, the number of special education claims
increased by 73% (with 4479 in FY 2015 as compared to 2582 claims in FY 2014) but
have since leveled off in the 4000 range since the initial uptick.38


      34  See, e.g., Zimmerman, Alex. “New York City Now Spends $325 Million A Year
to Send Student with Disabilities to Private Schools.” Chalkbeat, Jan. 7, 2019,
https://www.chalkbeat.org/posts/ny/2019/01/07/private-school-tuition-
reimbursement/. Accessed Jan. 12, 2019.
       35 The data points in Figure 3 were provided by SED.
       36 July 1, 2016 through June 30, 2017.
       37 Stringer, Scott M. (2018). Claims Report: Fiscal Year 2017. Retrieved from

the Office of the Comptroller of the City of New York website:
https://comptroller.nyc.gov/wp-content/uploads/documents/Claims-Report-FY-
2017.pdf. Accessed 12 Jan. 2019. Special education claims include both “claims on
behalf of parents for the reimbursement of special education services costs and tuition,
and claims for statutory attorneys’ fees where an underlying claim for special education
reimbursement has been successful.” Id.
       38 Id.



                                              14
                                                                Hyman Decl. Ex. DD- 25
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 26 of 90




3.     Number of Hearings and Conferences Scheduled in NYC Per Day

        Given the total number of due process complaints filed in New York City, the
number of matters listed on the hearing calendar in New York City on a per day basis
(i.e., days in which the NYCIHO is open for business) is not particularly surprising.
And, given all else, this number is also rising. (See Figure 4.)

Figure 439
Calendared Matters

     SCHOOL YEAR         AVG. PER DAY

       2014-15                   55


       2015-16                   69


       2016-17                   89


       2017-18                  106


       2018-19                  122
                           (as of 01/14/19)




4.     Number of Hearings Adjudicated

        Few hearings are actually fully adjudicated. For example, in SY 2016-17, only 11%
of the total number of due process complaints filed resulted in written decisions.40 (See
Figure 1, above.) Of the 11%, the majority (482 or 71%) were decided within extended
timelines,41 96 (or 14%) were decided within the 45-day timeline, 105 (or 15%) were
untimely.42 Forty-nine percent (49%) of the due process complaints filed were


       39  The data points in Figure 4 were provided by SED. The per day average
represents both scheduled hearings and conferences whether or not held.
        40 It is noted that 39% (or 2363) of the due process complaints filed were pending

at the time the data was submitted to OSEP. The number of fully adjudicated hearings
may have been higher than 11% in SY 2016-17.
        41 For purposes here, the validity of the extended timelines is assumed.

Allegations of IHOs unilaterally extending the timelines were raised with the reviewer.
        42 IDEA and its implementing regulations require that a final decision, in non-

disciplinary cases, be reached and mailed to each of the parties not later than 45
calendar days after the expiration of the 30-day resolution period, or the adjusted time
periods described in 34 C.F.R. § 300.510(c). 34 C.F.R. § 300.515(a). A hearing officer


                                              15
                                                                Hyman Decl. Ex. DD- 26
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 27 of 90




withdrawn, dismissed, or resolved without a hearing, with only 6% (or 164 of the 2981)
resulting in resolution meeting agreements.

5.    Number of Pendency Hearings

      An anomaly in the numbers is the number of pendency hearings relative to the
number of fully adjudicated hearings. This discrepancy is explained, in part, by the
NYCDOE’s ongoing practice of not maintaining a student’s uncontested current
educational placement absent a written order from an IHO.43

Figure 544
Comparison of Fully Adjudicated Hearings with Pendency Hearings

                SY 2014-15    SY 2015-16       SY 2016-17   SY 2017-18    SY 2018-19

 STATEWIDE
 FULLY ADJ.         459            453            683           877             847
  HEARINGS                                                                 (as of 1/15/19)




 PENDENCY
 HEARINGS           584            714            902          1425            1482
 HELD – NYC                                                                (as of 1/15/19)




 PENDENCY
 HEARINGS            1             12              9             6               2
 HELD – ROS



6.    Number of Extensions and Recusals

       The number of extensions granted in New York State is exceptionally high. (See
Figure 6.) In SY 2017-18, for example, there were 36,369 requests granted statewide.45
New York City alone accounts for 97% of all extensions granted in SY 2017-18. In fact,
since SY 2014-15, New York City has decisively taken the lead in the number of requests


may grant specific extensions of time beyond the 45-day period at the request of either
party. 34 C.F.R. § 300.515(c); 8 NYCRR § 200.5(j)(5)(i).
        43 See Letter to Goldstein, 60 IDELR 200 (OSEP 2012). See also SOPM at 18

(“The NYCDOE requests a written Order of Pendency in each case in which pendency is
sought by the Parent, regardless of whether pendency is disputed by the school
district.”). This practice continues, as confirmed by discussions with IHOs serving in
New York City.
        44 The data represented here is from the CADRE Dispute Resolution Data

Summaries and data points provided by SED.
        45 In fact, there were 36370 requests for extensions filed. All but one was

granted.


                                          16
                                                              Hyman Decl. Ex. DD- 27
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 28 of 90




granted statewide, owning between 94 to 97% of the total number. To put this in
perspective, the other 732 school districts in New York State,46 account for 3 to 6% of
the total requests granted during the same period.

Figure 647
Number of Granted Extensions

                SY 2014-15      SY 2015-16        SY 2016-17      SY 2017-18   SY 2018-19

 STATEWIDE          15067          17447            24778           36369         20810
                                                                               (as of 01/15/19)


     NYC           14111           16599            23768           35157         20173
                   (94%)           (95%)            (96%)           (97%)         (97%)


     ROS          956 (6%)        848 (5%)        1010 (4%)       1212 (3%)     637 (3%)


LEGEND:       STATEWIDE – ALL LOCAL EDUCATIONAL AGENCIES IN NYS
              NYC – NEW YORK CITY
              ROS – REST OF STATE


       Just as startling are the number of recusals in New York City, with 5634 in the
school year that just ended (2017-18). The current school year (2018-19) has already
surpassed last school year’s number and there are approximately six more months
remaining to the school year.48 (See Figure 7.)

       And, here again, the New York City school district has the highest incidents of
recusals as compared to rest of State (see Figure 7), with the number of recusals per IHO
(serving New York City) varying widely (see Figure 8).

      These disproportionate number of recusals are an impediment to the timely
completion of due process hearings.49

       46 SED. (2018). New York State Education At A Glance (web page). Retrieved
from https://data.nysed.gov/. Accessed Jan. 14, 2019.
       47 The data points in Figure 6 were provided by SED.
       48 The use of the term “recusal” as applied to the New York City school district is a

misnomer. Recusal is the process by which an IHO is disqualified on objection of either
party or disqualifies him/herself from presiding over a hearing because of self-interest,
bias or prejudice. See Black’s Law Dictionary (10th ed. 2014). In practice, however, the
IHOs in New York City are assigned due process complaints on an automatic rotational
appointment basis. An IHO who is appointed but simply unavailable, or is available but
for some reason chooses not to accept the appointment, is deemed to have recused
him/herself.
       49 For an explanation on how the high number of recusals impede timely

completion of due process hearings, see discussion on Timely Appointment of IHOs and
Subsequent Recusals on page 41.


                                             17
                                                                    Hyman Decl. Ex. DD- 28
         Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 29 of 90




Figure 750
Number of Granted Recusals

                    SY 2014-15      SY 2015-16        SY 2016-17      SY 2017-18   SY 2018-19

 STATEWIDE              3333            1704             3959            5664          6979
                                                                                   (as of 01/15/19)


        NYC             3309            1697             3942            5634          6968
                       (99%)           (100%)           (100%)          (99%)         (100%)


        ROS           24 (1%)          7 (0%)          17 (0%)         30 (1%)       11 (0%)


LEGEND:           STATEWIDE – ALL LOCAL EDUCATIONAL AGENCIES IN NYS
                  NYC – NEW YORK CITY
                  ROS – REST OF STATE


Figure 851
Recusal Per IHO in NYC

                      IHOs          IHOs
 Number of            Within        Within
  Recusals           Range in      Range in
                      2017          2018
      0 to 25           25            23
      26 to 50          12            7
      51 to 75          15            6
     76 to 100          9             11
     101 to 125         8             2
     126 to 150         4             5
     151 to 175         1             3
     176 to 200         1             3
       201 +            0             11
       301 +            0             4

7.       Average Case Length (in days)

       The average number of days a case is open in New York State far exceeds the
abbreviated timeline established in the IDEA and what is reasonable under an extended
timeline. (See Figure 9.) The failure to promptly resolve due process complaints keeps




       The data points in Figure 7 were provided by SED.
         50

      The data points in Figure 8 were provided by SED and are current as of
         51

November 8, 2018.


                                                 18
                                                                        Hyman Decl. Ex. DD- 29
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 30 of 90




children in “administrative limbo”52 and, for some, delays access to free appropriate
public education to which they are entitled.

Figure 953
Average Case Length (in days)

                SY 2014-15     SY 2015-16        SY 2016-17      SY 2017-18   SY 2018-19

 STATEWIDE          146             155             175             196            219
                                                                              (as of 01/15/19)


     NYC            149             159             181             202            225


     ROS            115             114             114             120            140


LEGEND:      STATEWIDE – ALL LOCAL EDUCATIONAL AGENCIES IN NYS
             NYC – NEW YORK CITY
             ROS – REST OF STATE


8.    Number of IHOs

       The number of IHOs in New York State has remained constant for the past five
(5) years (2014-18), with an average of 110 IHOs per year.54 IHOs are part-time,
independent contractors,55 and many hold other part and full-time jobs.56

9.    In Sum

       The high number of due process complaints filed in New York City – the majority
of which are resolved in favor of parents, as indicated by, for example, New York City’s
$280 million payout –raises valid questions of the school district’s ability to offer free
appropriate public education to its students with disabilities. This apparent failure is
longstanding as indicated by the exponential growth in the number of due process
complaints since, at the least, SY 2014-15. Further study, followed by immediate,
decisive action, is indicated.


      52  Engwiller v. Pine Plains Cent. Sch. Dist., 110 F. Supp. 2d 236, 33 IDELR 90
(S.D.N.Y. 2000) (“[T]he brevity of the 45-day requirement indicates Congress’s intent
that children not be left indefinitely in an administrative limbo while adults maneuver
over the aspect of their lives that would, in large measure, dictate their ability to
function in a complex world.”).
       53 The data points in Figure 9 were provided by SED.
       54 Within these five (5) years, New York reached a high in 2015 with 125 IHOs

and a low in 2018 with 98 IHOs. In the current calendar year (2019), there are 108
IHOs. (Data points provided by SED.)
       55 See 8 NYCRR § 200.1(x).
       56 Discussions with IHOs.



                                            19
                                                                   Hyman Decl. Ex. DD- 30
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 31 of 90




      Conflating an already precarious situation is the high number of extensions and
recusals in New York City, as well as the prolonged delays in resolving due process
complaints, either by decision or otherwise. These systemic deficiencies are
symptomatic of an unhealthy hearing system that requires immediate intervention.

       Root causes of these systemic deficiencies are discussed below.

C.     Key Observations

1.     Two Masters

      Throughout the review, NYCIHO interviewees guardedly engaged with the
reviewer. Though this phenomenon was not widespread, it was most pronounced
during discussions with the senior staff and attorneys, who sidestepped with greater
frequency pointed questions probing potential process failures. The participation of the
NYCDOE’s Office of the Auditor General only served to complicate the situation.

       This protectionist mindset is understandable, in part.

       The NYCIHO functions to “oversee[] the administrative and clerical aspects of
impartial hearings for the [NYC]DOE.”57 Its primary purpose, however, is to support
the work of the IHOs. This dichotomy in functions has the NYCIHO balancing the needs
of two masters, the first of which controls its purse strings while the second is not
constrained by the financial limitations of the first. Yet, any complicitness in concealing
the shortfalls that plagues it to protect the first master, diminishes the value of the
second whose need is the reason for the NYCIHO’s very existence.

2.     SED’s Commitment to Change

        In September 2016, OSEP determined that New York State had a high rate of
fully adjudicated hearings with extended timelines and that it did not have procedures
in place to ensure that IHOs are granting extensions consistent with 34 C.F.R. §
300.515(c). OSEP further determined that New York State “is not exercising its general
supervisory responsibility to ensure that [IHOs] adhere to the 45-day timeline for
issuing final decisions in due process hearings.”58

      SED shares OSEPs commitment to improving New York States’ due process
system’s efficiency, timeliness, and overall operation. To this end, SED has taken, and


       57  SOPM at 6 (emphasis added). Specifically, the NYCIHO calendars hearing
dates, communicates with parties, provides recording equipment and the individuals to
operate it, secures translation/interpretation and transcription services, and provides
clerical support inclusive of decision/order formatting and the processing of evidence.
Id. at 6, 8.
        58 See New York Monitoring and Support Visit Summary and Next Steps, OSEP

(September 28-30, 2016) (on file with the New York State Education Department).


                                            20
                                                                Hyman Decl. Ex. DD- 31
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 32 of 90




continues to take, corrective action to address the overuse of extended timelines,
including:

      •   Initiating a compliance assurance plan requiring the NYCIHO to revise the
          IHO appointment process to ensure the availability of an IHO prior to his/her
          appointment to a case and to limit recusals;

      •   Releasing in September 2017 a memorandum to the field advising and
          reminding all parties of important procedural requirements relating to special
          education due process hearings;

      •   Releasing in January 2018 a Q & A to the field on impartial hearings
          procedures;

      •   Increasing monitoring of hearing timelines by SED Office of Special
          Education staff;

      •   Providing in September 2017, with a follow-up review in May 2018, focused
          training to all certified IHOs on impartial hearing timelines and extensions,
          and providing on an as needed basis additional training to IHOs identified by
          SED as requiring technical assistance;

      •   Collaborating and discussing with the National Center for System
          Improvement (NCSI) on New York State’s due process system, including
          determination of root cause and the identification of strategies to address
          timeliness of due process hearings;

      •   Increasing the number of certified IHOs by recruiting and training 10 new
          IHOs who were added to the IHO roster in November 2018;

      •   Establishing an internal work group to review New York State’s two-tier
          system and discuss how it might be improved; and,

      •   Initiating the independent review of the NYCIHO, which is the subject of this
          report

       This review uncovered sincere disagreements on how process failures of the
NYCIHO might be improved. Yet, it revealed wide consensus on the need to make
changes to how the NYCIHO operates, as well as a shared commitment to its
improvement. To this end, despite the possibility that this review may also unveil SED’s
own shortcomings, SED’s steadfast commitment to an utterly objective and candid
review of the NYCIHO by a reviewer granted SED’s “full authority,” is commended.
Indeed, though laudable, it is simply a start. More needs to be done and will be done.
For SED will be measured not by what it learned in this report but rather by what
decisive actions it takes moving forward and the resulting outcomes.




                                           21
                                                                Hyman Decl. Ex. DD- 32
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 33 of 90




3.    Interconnectedness

       This review identified substantial deficiencies in the policies, procedures and
practices specific to special education impartial hearings in New York City, including the
high rate of extensions granted, the considerable number of recusals, the inadequate
payment structure for IHOs, and the insufficient number of hearing rooms available to
accommodate the day-to-day hearing schedule. Each presents a threat to due process.
Collectively, however, they render an already fragile hearing system vulnerable to
imminent failure and, ultimately, collapse.

       That it has not yet collapsed is remarkable given the staggering numbers of due
process complaints filed in New York City. (See Figure 2, above.) A plausible
explanation for this may be the mutually beneficial relationships that have formed to
allow IHOs, parties (inclusive of the NYCDOE), and the NYCIHO to coexist by “turning
a Nelson’s eye.” Though the NYCIHO finds itself between the proverbial rock and a
hard place, serving two masters, such does not excuse any failure to comply with basic
tenets of due process, including, for example, having an adequate number of hearing
rooms available to accommodate the elevated number of hearings on a day-to-day basis
and fairly compensating IHOs commensurate with their responsibilities.

IV.   ADDITIONAL FINDINGS SPECIFIC TO TARGETED AREAS

       The following additional findings help inform the recommendations included in
this report.

A.    NYCIHO – Generally

1.    Impartiality

       The NYCIHO maintains some degree of autonomy and independence, though it
reports to the Deputy Chancellor of School Planning and Development. The Office of
School Planning and Development oversees for the NYCDOE space planning and
management, school design and charter partnerships, nonpublic schools, and the
Education Construction Fund.59

       With respect to impartiality, the NYCIHO’s stated objective is to “remain
impartial at all times,” communicating with parties and IHOs in a professional and free
of bias manner.60 This rings true, with one notable exception – the degree of access



      59  See Chancellor Carranza Announces Streamlined Support and Leadership
Structure for New York City Schools, (2018), https://www.schools.nyc.gov/about-
us/news/announcements/contentdetails/2018/06/27/chancellor-carranza-announces-
streamlined-support-and-leadership-structure-for-new-york-city-schools (last visited
Jan. 15, 2019).
       60 SOPM at 6.



                                           22
                                                                Hyman Decl. Ex. DD- 33
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 34 of 90




NYCDOE personnel have to the NYCIHO’s Impartial Hearing System (IHS).61 Limited
access to IHS is granted to district representatives of the committees on special
education, the Office of the General Counsel, including the attorneys assigned to cases
before the NYCIHO, and representatives of the Impartial Hearing Representation
Office, whose staff represents the interest of the NYCDOE in claims filed with the
NYCIHO.62 Read-only access is granted to other NYCDOE employees and IHOs.63
Parents or their representatives are not granted access whatever.64 Such operational
practice can be perceived as providing preferential treatment to one party to the
disadvantage of the other.

       Such perception is not without substance. For example, in the New York City
school district, when the parent files the due process complaint, the commencement of
the 45-day timeline is triggered when a school-district level representative enters
information relating to the resolution process into IHS, or the 30-day resolution period
has elapsed, whichever comes first.65 Only then is the assigned IHO notified of the need
to schedule the prehearing conference or hearing within 14 days.66 A lapse in entering

       61  IHS is a web-based case management system for collecting and maintaining
information related to due process complaints filed in New York City. SOPM at 8.
        62 Interview of System Administrator, NYCIHO. See also Memorandum from

Appeals Processor to Unknown (undated) (on file with the NYCIHO) (addressing outage
to IHS and how it would affect user, including “Impartial Hearing Office, Hearing
Officers, District Representatives, the Office of General Counsel, and the
Implementation Office”).
        63 Id.
        64 Interview of System Administrator, NYCIHO.
        65 Interview of Case Coordinator, NYCIHO. The 30-day resolution period must

be adjusted in three circumstances: (1) both parties agree in writing to waive the
resolution meeting; (2) the mediation or resolution meeting starts but before the end of
the 30-day period, the parties agree in writing that no agreement is possible; and, (3)
both parties agree in writing to continue the mediation at the end of the 30-day
resolution period, but later, the parent or the LEA withdraws from the mediation
process. 34 C.F.R. § 300.510(c).
        66 New York, unlike the IDEA, sets a timeline by when the hearing officer must

initiate either the prehearing conference or the hearing. Specifically, the hearing officer
must commence the prehearing conference or the hearing within the first 14 days after
the hearing officer is appointed, if the school district filed the complaint. 8 NYCRR §
200.5(j)(5), § 200.5(j)(3)(iii)(a). Similarly, if the parent filed the complaint, the
prehearing conference or the hearing must commence within the first 14 days of receipt
by the hearing officer of the parties’ written waiver of the resolution meeting, written
confirmation that a mediation or resolution meeting was held but no agreement could
be reached, or written notification that either party withdrew from mediation (after
having agreed to continue mediation beyond the 30-day resolution period). 8 NYCRR §
200.5(j)(5), § 200.5(j)(3)(iii)(b). The prehearing conference or hearing must also
commence within 14 days of the expiration of the 30-day resolution period, unless the
parties agree in writing to continue mediation at the end of the 3o-day resolution period.
Id.

                                            23
                                                                Hyman Decl. Ex. DD- 34
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 35 of 90




the information only serves to delay the commencement of the hearing process for the
parent.

2.    Physical Space

        The NYCIHO is located in downtown Brooklyn, at 131 Livingston Street. It is
easily accessible by nine (9) subway lines, making it a desirable, central location for
those traveling from surrounding neighborhoods, boroughs, and other counties. The
building housing the NYCIHO has six (6) floors, with the NYCIHO occupying space on
the second floor. The IHRO also occupies space on the second floor. The second floor is
L shaped.

        The NYCIHO has 17 rooms on the second floor and the IHRO has four (4). There
are also two sizable computer rooms, a sizable lunch room, and two bathrooms. Access
to the second floor is either through two sets of stairs or two elevators, one of each on
either end of the L-shaped floor.

       Seven (7) of the 17 rooms available to the NYCIHO are designated administrative
offices/space. The remaining 10 rooms are designated hearing rooms, with one of these
rooms (Room 202C) also substituting as work space for IHOs.67 An additional
conference room on the third floor belonging to another office is available to the
NYCIHO for use as a hearing room between the hours of 9 a.m. and 5 p.m.68

       All hearing rooms have access to corded, table-mounted office telephones with
built-in speakers and microphones. There are no Polycom Sound Stations (or similar
telephone conference system) in any of the hearing rooms. Call/voice-quality control of
existing telephones was not assessed.

      Some hearing rooms are smaller than others, restricting the number of people
who can sit comfortably in each. Nonetheless, seating is adequate, and tables are
appropriately proportional to individual room sizes. Rooms were observed to be
unkempt, cluttered, and having bare walls.




      67  Room 202C is used for “overflow,” hearing matters. (Interview of Hearing
Room Coordinator, NYCIHO.) Typically, only prehearing conferences are scheduled for
this room. In-person participation in prehearing conferences held in Room 202C by
school district personnel is not atypical. (Interview of Operations Manager, NYCDOE.)
Evidence of pending hearings is stored in unlocked cabinets on shelves in boxes in this
room and IHO mailboxes are also situated in the room. (Interviews of Hearing Room
Coordinator and Operations Manager.) The appropriateness of using Room 202C for
any hearing matters with one or both parties present in person is highly questionable
given IDEA and Family Educational Rights and Privacy Act (FERPA) confidentiality
requirements. See 20 U.S.C. §§ 1412(a)(8), 1417(c); 20 U.S.C. § 1232g.
       68 Interview of Hearing Room Coordinator.



                                           24
                                                               Hyman Decl. Ex. DD- 35
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 36 of 90




      Technical specification as to whether hearing rooms are soundproofed is
unavailable.69 Sound bleeding was observed in Room 204H with conversations in the
adjacent rooms (204I and 208) discernible.70 Similar leakage is also present in other
hearing rooms.71

       Posted signs near hearing rooms remind others of the need to keep noise to a
minimum. The Hearing Room Coordinator “monitors” the hallway during hearing
hours to ensure compliance.72

       Access to computer terminals and printers by IHOs and parties is restricted.
Only two (2) of the 11 rooms were observed to have computers but no printers,73 one of
which was Room 202C, which is used predominantly by IHOs. In the second, the
computer was not connected to an electrical outlet or ethernet/USB lines. Access to a
copier is restricted to NYCIHO personnel and IHOs. The inability of parties,
particularly school district personnel with access to student records, to have use of
computer terminals and a copier has resulted in delays in the past and continues to
hinder the timely completion of hearing proceedings.74

      All hearing rooms are WiFi accessible.75 Access to it is granted to IHOs but not
parents or their representatives or school district personnel other than NYCIHO staff.76

       An adequate number of electrical outlets were observed in most hearing rooms,
with at least three of the four walls each having an outlet.




      69  Written Response to Reviewer Question Provided by Chief Administrator,
NYCIHO (November 30, 2018) (on file with the NYCIHO).
       70 The Operations Manager has received complaints about the sound bleeds.

Interview of Operations Manager, NYCIHO.
       71 Interview of Hearing Room Coordinator.
       72 Interview of Deputy Chief Administrator, NYCIHO.
       73 It is noted that the use of a network printer might be an option.
       74 Discussions with IHOs; Interview of Senior Policy Advisor, Committees on

Special Education, NYCDOE. Conflicting information was provided to the reviewer
regarding the ability of school personnel to have access to computers and a copier while
present in the NYCIHO. Senior Policy Advisor acknowledged that the NYCIHO does not
provide access to its computers and copier to school district personnel but indicated that
Committee on Special Education 8, which is also housed in 131 Livingston Street, now
provides school personnel with access to its computers and copier. (Interview of Senior
Policy Advisor.) IHOs interviewed related that access continues to be limited and can
disrupt hearing proceedings when prolonged breaks must be taken to allow school
personnel to acquire or copy necessary documents. (Discussions with IHOs.)
       75 The NYCIHO installed the WiFi in late 2017. Interview of Hearing Room

Coordinator.
       76 Id.



                                           25
                                                                Hyman Decl. Ex. DD- 36
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 37 of 90




       Appropriate room ventilation and temperature regulation is an ongoing problem
with the hearing rooms. Hearing rooms are either “very hot” or “notoriously cold.”77
Cooling is achieved through the use of air conditioning and/or fans: one (1) hearing
room has central air conditioning; five (5) hearing rooms have either window or
portable air conditioning units; and, five (5) hearing rooms do not have air conditioning
whatever. The window and portable air conditioning units are loud and affect the
quality of the electronic recording of the proceedings.78

       Poor ventilation has resulted in hearing cancellations.79

       All hearing rooms have fans. Radiators heat the rooms.

       Inadequate ventilation and temperature control in the hearing rooms has
resulted in hearings being conducted with doors open.80 This is a long-standing issue
that the NYCIHO had been directed to correct.81 It has not done so.82

       The lunch room serves multiple purposes. It is managed by the NYCDOE’s Field
Support Center – Brooklyn North.83 Personnel from all offices residing at 131
Livingston Street have access to it.84 It has typical furnishings of a lunch room,
including round tables, chairs, cabinets, and a working sink. Two vending machines are
also present.

      In addition to its obvious purpose, the lunch room is also used as the NYCIHO’s
waiting room and as one of the Field Support Center’s holding rooms for reassigned
teachers.85 In the four days the reviewer completed a site visit of the NYCIHO, there
were as many as 20 reassigned teachers by early morning.86 Coveted spaces – tables

       77  Interviews of Senior Director of Representation and Deputy Director, Impartial
Hearing Representation Office (IHRO), Special Education Office, Division of Specialized
Instruction and Student Support, NYCDOE; Discussions with IHOs. Corroborated by
Hearing Room Coordinator and Deputy Chief Administrator.
        78 Discussions with IHOs; Interview of Hearing Room Coordinator.
        79 IHO written feedback.
        80 Interview of Hearing Room Coordinator; Discussions with IHOs.
        81 Letter from Patricia J. Geary, Coordinator, Office of Special Education, SED, to

Executive Director, Division of Financial Operations, NYCIHO (November 10, 2014) (on
file with SED) (Letter to Executive Director).
        82 The reviewer observed multiple hearings being conducted with doors open on

all four days that he was onsite. Conversations with participants in these hearing rooms
confirmed that ventilation / temperature control were the reasons for keeping the doors
open.
        83 Interview of Hearing Room Coordinator.
        84 Id.
        85 Reassigned teachers are NYCDOE employees who are the subject to an

investigation dealing with potential misconduct.
        86 Identification of the reassigned teachers was aided by the Hearing Room

Coordinator and by the reviewer’s own observations.


                                            26
                                                                   Hyman Decl. Ex. DD- 37
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 38 of 90




and chairs near electrical outlets – were mostly taken by eight in the morning.87 By nine
in the morning most tables were occupied by either reassigned teachers, IHOs, parents
and/or their representatives, and school district personnel.

        On days that there are considerable number of hearing matters on the NYCIHO
calendar, there is an insufficient number of tables and chairs to accommodate everyone
in the lunch room, in part, because of the space taken up by the reassigned teachers.88
Overflow spills into the hallway.89 Milling around in the hallways and near hearing
rooms was observed.

       Security concerns regarding the reassigned teachers were brought to the
reviewer’s attention, with women feeling most vulnerable. No specific incidents were
reported but all who spoke with the reviewer were judged to be sincere in their concerns.

       School safety officers patrol the second floor.90 This was observed by the
reviewer. Near the main entrance to the second floor sits a security desk. However, in
the four days that the reviewer was onsite, the desk was unmanned on three of the four
days and for a limited time on the fourth.

       There is no designated area on the second floor for parent attorneys/advocates to
have confidential discussion with their clients.91 Attorneys were observed having
discussions with their clients in the lunch room, hallway, and stairwells within earshot
of others. The need for privacy to have confidential discussions with clients has been
brought to the attention of the Hearing Room Coordinator.92 IHOs have requested of
the Deputy Chief Administrator confidential space for themselves and for parent
attorneys.93

3.     Budget and Availability of Funds

       The cost of operating the NYCIHO is considerable. IHO compensation accounts
for two-thirds of hearing related expenses. Transcription services account for 30% of
hearing related expenses. (See Figure 10.)



       87 Interestingly, by day two of the site visit, it was apparent to the reviewer that
preferred tables were “claimed.”
       88 Discussion with IHOs; Interview of Hearing Room Coordinator; Reviewer

Observation.
       89 Id. It was also reported that that there is no cell service in the lunchroom,

which may explain why some individuals find their way into the hallway. (Discussion
with IHO.)
       90 Interview of Deputy Chief Administrator.
       91 Interviews of Hearing Room Coordinator and Deputy Chief Administrator;

Discussions with IHOs.
       92 Interview of Hearing Room Coordinator.
       93 Interview of Deputy Chief Administrator; Discussions with IHOs.



                                             27
                                                                   Hyman Decl. Ex. DD- 38
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 39 of 90



Figure 1094
Hearing Related Expenses – FY 17, 18, and 19

    FISCAL YEAR               2017                 2018                  2019
                                                                     (as of 11/30/18)

     PRINT SHOP              $10,993              $39,000              $23,163

  HEARING OFFICERS         $3,873,780            $4,204,635          $3,429,716

     TRANSCRIPTS           $1,873,481           $1,647,816           $1,525,651

     TRANSLATION
       SERVICES             $153,626             $168,506             $171,771
       TOTAL               $5,911,880           $6,059,957           $5,150,301



      Payment amounts to IHOs vary, with most IHOs billing $100k or less and few
exceeding $150k. (See Figure 11.)

Figure 1195
IHO Payments

  PAYMENT RANGE              FY 18                 FY 17                 FY 16
     (in thousands)
       0-50                    32                   39                     54
      51-100                   26                   24                     16
      101-150                  10                    8                     7
      151-200                   3                    3                     0

       “Funds do run out” during the fiscal year, and the NYCIHO seeks additional
allocations of money.96 In FY 2018 alone, there were two reported lapses in payments
exceeding a few months.97 These lapses have resulted in IHOs taking themselves off
rotation or declining appointments of cases.98



      94  The data points in Figure 10 were provided by NYCIHO.
      95  These data points were provided by the NYCDOE and were current as of
November 29, 2018. Payments are not apportioned to the fiscal year in which the work
is completed but, rather, to when invoices were presented and paid. Interview of
Accounting Clerk, NYCDOE.
       96 Interview of Accounting Clerk. See also Email Correspondence from Chief

Administrator, NYCIHO, to Cathryn Tisenchek, Supervisor, Office of Special Education,
NYSED (July 11, 2018) (on file with NYSED).
       97 Discussions with IHOs. Interview of Chief Administrator, NYCIHO (“Typical

wait 90 days.”).
       98 Discussions with IHOs.



                                          28
                                                              Hyman Decl. Ex. DD- 39
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 40 of 90




B.     IHO Compensation Policy

        In 2001, New York State approved a maximum compensation rate for IHOs of
$100 per hour for prehearing, hearing, and post-hearing activities.99 The IHO
compensation rate has not been revised in 17 years. The compensation rate is
significantly lower than the attorneys who appear before the IHOs.100 An IHO with
“impressive credentials” and “very experienced … in IDEA matters” can see a bump of
350% to their hourly rate (assuming the maximum rate of $100 is paid) simply by
litigating IDEA cases rather than deciding them.101

      SED’s compensation rate policy does not prescribe with specificity a payment
schedule. Each school district is tasked with adopting a written policy for the selection
and appointment of an IHO.102 There is no requirement for a detailed written policy.103

        IHOs serving in New York City are not compensated on an hourly basis. The
NYCDOE has adopted a detailed compensation policy, last updated in FY 2014.104 The
rates have remained unchanged since 1998. The Compensation Policy sets forth a fee
schedule of various IHO tasks that are compensable. Fees are capped for each task.105
Actual time invested relative to the undertaking is of no significance. 106 The maximum
number an IHO can bill per task per case is also capped.107 Travel and other expenses
(e.g., postage) are not reimbursable.108



       99  Memorandum from Lawrence C. Gloeckler, to District Superintendents, et. al
(August 2001),
http://www.p12.nysed.gov/specialed/publications/policy/ihocompmemo.html,
Accessed Jan. 17, 2019. In New York State, pursuant to Education Law 4404, the
Commissioner of Education establishes the maximum rates for IHO compensation
subject to the approval of the Director of the Division of the Budget. N.Y. EDUC. LAW
Art. 89 § 4404(1)(c).
        100 See, e.g., M.K. v. Arlington Central Sch. Dist., 119 LRP 347 (S.D.N.Y. 2019)

(finding that an hourly rate of $450 is reasonable for an attorney with “impressive
credentials” and “very experienced … in IDEA matters”).
        101 In M.K., supra, IHO Barbara Ebenstein was awarded $450 per hour for work

associated with the prosecution of an impartial hearing under IDEA. The court noted
IHO Ebenstein’s experience as a hearing officer to determine what a reasonable rate
would be for someone with her experience. See id., n.5.
        102 8 NYCRR § 200.2(b)(9).
        103 Id.
        104 See NYCDOE, Impartial Hearing Officer Compensation Policy (FY 2014) (on

file with the NYCIHO) (Compensation Policy).
        105 Id.
        106 See id.
        107 See, e.g., id. at 4 (entitlement to “an administrative fee”; cannot bill for “more

than one … [prehearing conference] per case”).
        108 See Compensation Policy at 6.



                                              29
                                                                    Hyman Decl. Ex. DD- 40
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 41 of 90




        Other school districts in New York State compensate IHOs at an hourly rate of
$100 and reimburse travel and other expenses.109 It is reported that IHOs are paid
significantly more outside of New York City for comparable work performed in New
York City.110 (See Figure 12.)

Figure 12111
Invoice Comparisons

                    TOTAL       TRAVEL &           TOTAL      AMOUNT,        PERCENT
                    HOURS       EXPENSES,         AMOUNT      IF BILLED      DECREASE
                    BILLED        IF ANY           BILLED      TO NYC
  SAMPLE      1      175.5       $370.21         $17,920.21     $3460            81%
  SAMPLE      2      73.5            0              $7350       $1900            74%
  SAMPLE      3      30.7        $511.89          $3581.89      $1190            67%
  SAMPLE      4     216.88          525            $22,483      $5300            76%

       The NYCIHO has held internal meetings to review the Compensation Policy and
has submitted proposed revisions to “upper management.”112 Management has “denied”
these requests.113

        The NYCIHO does not compensate IHOs for performing functions essential to
the efficient and timely administration of due process complaints, including:

       •     Conducting more than one prehearing conference per case, unless the due
             process complaint has been amended.114
       •     Drafting a written summary of the prehearing conference.115
       •     Conducting status conferences.116




       109 Discussions with IHOs; review of various invoices for services rendered by an
IHO (on file with reviewer).
       110 Discussions with IHOs; review of a sampling of invoices submitted by IHOs for

work performed outside of New York City delineating what the payment would have
been if the work had been performed in New York City.
       111 The data points were provided by IHOs who voluntarily submitted their

invoices to the reviewer for review. For purposes of this illustration, the accuracy of the
invoices is assumed. It is not known whether the amounts billed were actually paid.
The hourly rate billed in all three sample invoices for the work performed was $100 per
hour.
       112 Interviews of Claims Processor, Appeals Processor, Accounting Clerk, and

Operations Manager.
       113 Interview of Operations Manager.
       114 See Compensation Policy at 4.
       115 See id. at 6.
       116 See id. at 5.



                                            30
                                                                 Hyman Decl. Ex. DD- 41
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 42 of 90




       •     Drafting interim orders on any other matter other than pendency, sufficiency,
             and consolidation.117
       •     Reviewing transcripts and legal memoranda submitted by the parties.118
       •     Certifying the record119

       “Soft policies” have resulted in the NYCIHO not following the Compensation
Policy as written. 120 These “soft policies” are not published, resulting in varying billing
practices amongst IHOs.121

        Inadequate compensation has resulted in IHOs engaging in widespread practices
that are inconsistent with appropriate, standard legal practice and best practices,122
including:

       117  See id. at 6. There are many other matters handled by IHOs that may
necessitate, or even require, the issuance of an interim, written order, including:
requests for extensions of the timeline; appointment of a guardian ad litem; requests for
independent educational evaluations; and, resolving disputes relating to evidentiary
matters, subpoenas, and the statute of limitations.
        118 See id. at 5. The review of transcripts is only compensated upon appointment

to a case that was already in progress and previously assigned to another IHO or
remanded to the same IHO after an appeal. Id.
        119 See, generally, Compensation Policy. The NYCIHO takes the position that the

Administrative Fee of $100 covers the cost of certifying the record. (Interview of
Accounting Clerk.) The Administrative Fee, however, simply covers the cost of
transmitting the record. See Compensation Policy at 4. Transmittal of the record is not
the same as certifying the record. See 8 NYCRR § 200.5(j)(5) (“After a final decision has
been rendered, the [IHO] shall promptly transmit the record to the school district
together with a certification of the materials included in the record”) (emphasis added).
        120 Interview of Accounting Clerk; Discussions with IHOs. In a written statement

dated December 12, 2018, the NYCIHO informed the reviewer that it “follows the pay
policy as it is written….” (New York City Response to SED (December 12, 2018) (on file
with reviewer).) The accuracy of this statement is not substantiated. Accounting Clerk
credibly acknowledged that the NYCIHO has adopted “soft policies” allowing for
additional compensation beyond what is written in the Compensation Policy.
Accounting Clerk offered three examples. An IHO is compensated for more than three
(3) hearings per day at an additional fee of $100 per case even though the Compensation
Policy limits compensation to no more than three (3) cases per day at a maximum total
fee of $300. IHOs are also compensated for an unlimited number of adjournments per
case. The Compensation Policy limits the number of adjournments to one (1) per case.
Finally, an IHO is paid an administrative fee of $100 per case even if the IHO declines
the case after appointment for a reason other than a conflict of interest. The
Compensation Policy indicates that an administrative fee would not be paid “for any
reason other than a conflict of interest” or where the IHO is “appointed in error (i.e.,
invalid case, keystroke/data entry error).” Accounting Clerk’s representation is credited
as confirmed in discussions with IHOs.
        121 Discussions with IHOs.
        122 Discussions with IHOs and party representatives.



                                             31
                                                                  Hyman Decl. Ex. DD- 42
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 43 of 90




      •     low incidence of prehearing conferences;
      •     premising their acceptance of an appointment on the nature of the due
            process complaint and/or the parent representative;
      •     scheduling non-consecutive hearing days over multiple months;
      •     scheduling multiple matters on the same day to increase the amount that can
            be billed on a per day basis;123
      •     writing decisions differently than outside of New York City;124
      •     not issuing interim orders for which there is no compensation, including
            interim orders on requests for extensions of the timeline;
      •     deciding prehearing matters during the actual hearing (e.g., whether the
            statute of limitations applies)

C.    Insufficient Number of Hearing Rooms

       The number of available hearing rooms (11, including Room 202C) is insufficient
to accommodate the number of hearing matters scheduled daily on the calendar. (See
Figure 4.) The NYCIHO has engaged in a practice of either capping the number of
hearing matters that can be scheduled on particular dates or asking IHOs to reschedule
hearing matters that are already scheduled on the calendar to other days.125



      123   For example, the maximum fee for one full-day of hearing for the same case is
$300 billed as an “H1.” See Compensation Policy at 5. Multiple cases, however, can be
heard in one day. An IHO, therefore, can schedule eight (8) cases for one day and bill
each as an “H3,” per “soft policy,” which commands $100 per case fee for a total of
$800. See id. Alternatively, an IHO can schedule a combination of pendency hearings
and hearings and increase the total amount s/he can bill for the day. For example, on
one of the days this reviewer was onsite at the NYCIHO, one IHO held seven (7)
pendency hearings and two (2) hearings, allowing the IHO to bill a minimum of $2100.
(An additional fee of $150 is paid for each pendency order issued by an IHO.) There is
an apparent financial incentive to schedule multiple matters in one day over one full-day
of hearing.
        124 An IHO candidly shared, “I write New York City decisions differently than

cases upstate … beautiful job upstate, good job in New York City.” Discussion with IHO.
        125 See, e.g., Email Correspondence from System Administrator, NYCIHO, to

Unknown (August 8, 2017) (on file with NYCIHO) (advising that, due to the number of
hearings scheduled for Wednesday, August 9, 2017, the NYCIHO is “unable to add-on
any additional hearings” to the calendar); Email Correspondence from System
Administrator, NYCIHO, to Unknown (October 9, 2018) (on file with NYCIHO)
(advising that, due to the number of hearing scheduled for Thursday, October 11, 2018,
the NYCIHO is “unable to add-on any additional hearings” to the calendar); Email
Correspondence from System Administrator, NYCIHO, to Unknown (October 9, 2018)
(on file with NYCIHO) (asking that, due to the number of hearings scheduled for
October 18, 2018, if it is “all possible … to move a few … hearing[s] from Thursday to
Friday).


                                           32
                                                               Hyman Decl. Ex. DD- 43
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 44 of 90




        The lack of an adequate number of rooms has resulted in prolonged delays (e.g.,
two-plus hours) in commencing hearings on time.126 Hearing room assignments are on
a first come, first served basis when there are more hearing matters scheduled for an
appointed time than there are available hearing rooms.127 As hearing rooms become
available, cases are called and assigned hearing rooms.128

       These prolonged delays have resulted in parties losing witnesses, feeling rushed
to complete the presentation of their case, and having to reschedule cases to another day
because of IHO time constraints.129 At least one IHO reported that, in the absence of a
“special situation,” the school district is given no “more than 30 minutes beyond the
scheduled time to provide … a room or else [the IHO] default[s]” the school district.”130

D.    Insufficient Number of School District Representatives

      Three separate offices represent the interests of the NYCDOE before the
NYCIHO. They are the Special Education Unit of the Office of the General Counsel
(SEU), the Impartial Hearing Representation Office (IHRO), and the Committees on
Special Education (CSE).131 Each has responsibility for due process complaints filed in
assigned community school districts and/or committees on special education.132

       The IHRO and the CSE each has approximately 20 school district representatives
available to appear at impartial hearings. The SEU has 62 attorneys of which
approximately 35 of them oversee free appropriate public education matters, including
representing the NYCDOE in due process hearings.133 Availability of an adequate
number of school district representatives to cover calendared cases has resulted in
hearing delays.134 School district representatives are scheduled to appear in multiple
cases at the same time, making their availability difficult.135

      126  Discussions with IHOs and party representatives.
      127  Interview of Hearing Room Coordinator.
       128 Id.
       129 Discussions with party representatives.
       130 Written correspondence from IHO.
       131 Interviews of representatives from each of these NYCDOE offices.
       132 Id. The SEU has responsibility for due process complaints filed from

committee on special education 9. The IHRO has responsibility for due process
complaints filed from community school districts 1 through 32, District 75, and
committee on special education 1. The CSE has responsibility for due process
complaints filed from committees on special education 2 through 8 and 10. Id.
       133 Interviews of representatives from each of these NYCDOE offices.
       134 Discussions with IHOs, parent representatives; Interview of Hearing Room

Coordinator.
       135 Id. For example, committee on special education 7 processes between 1200

and 1400 due process complaints per year. (Interview of Executive Director and Senior
Policy Advisor.) Only 4 individuals, however, represent committee on special education
7 in impartial hearings. (Id.) In three of the four days this reviewer was onsite at the
NYCIHO, committee on special education 7 had 24, 31, and 32 hearing matters


                                           33
                                                               Hyman Decl. Ex. DD- 44
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 45 of 90




E.    Appointment and Recusal

         In FY 2018, there were 71 IHOs listed on New York City’s rotational appointment
list.136 The high volume of due process complaints, however, has resulted in many going
off list as temporarily unavailable for new appointments, resulting in an inadequate
number of available hearing officers to absorb any new complaint filings and to be
reassigned cases in which the appointed IHO declined appointment.137 The failure to
have an adequate number of available IHOs impedes the timely administration of due
process complaints.138

      The number of recusals in New York City is a significant impairment to the timely
adjudication of due process complaints. Each instance of recusal reviewed by the
reviewer resulted in several months of delays. (See Figure 13.)




scheduled, respectively. (Review of Scheduled Hearings calendars provided by the
NYCIHO.)
        136 See NYCDOE, FY18 – FY14 [sic] Hearing Officer Payments document

(November 29, 2018) (on file with the NYCDOE). This number has remained fairly
constant. In FY 2017 and FY 2016, there were 74 and 77 IHOs listed, respectively. Id.
        137 See, e.g., Email Correspondence from Operations Manager, NYCIHO, to Chief

Administrator, NYCIHO (January 4, 2019) (on file with SED) (explaining that 20 IHOs
in rotation with 435 recusal requests to process and approximately 30 new complaints
filed); Email Correspondence from Cathryn Tisenchek, Supervisor, SED, to Joanne
LaCrosse, Coordinator, Office of Special Education, SED (January 18, 2019) (on file with
SED) (explaining that 13 IHOs in rotation with 300 recusal requests to process and
approximately 59 new complaints filed).
        138 Email Correspondence from Cathryn Tisenchek, Supervisor, SED, to Joanne

LaCrosse, Coordinator, Office of Special Education, SED (January 18, 2019) (advising
that, as of January 18, 2019, there were 1670 late cases in New York State; 1645 of those
cases were in New York City).


                                           34
                                                               Hyman Decl. Ex. DD- 45
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 46 of 90



Figure 13139
Delays Caused by Recusals

 CASE STUDY 1      An expedited due process complaint is filed in March. Student was
                   suspended from school. Multiple IHOs recuse. An IHO finally accepts
                   appointment in June. Expedited hearing scheduled for July after
                   required statutory timelines for an expedited hearing had lapsed. By
                   the time due process complaint was heard, student had served entirety
                   of suspension, depriving student of right to challenge exclusion from
                   school.
 CASE STUDY 2      A due process complaint is filed in mid-August. 30-day resolution
                   period expired in mid-September and parties informed by NYCIHO that
                   IHO will schedule hearing. However, IHO never communicates directly
                   with parties and in mid-November, after unilaterally extending
                   timeline, scheduled hearing for February.
 CASE STUDY 3      A due process complaint is filed in June. Resolution period expired in
                   July. As of August, seven IHOs had recused and IHO had not been
                   appointed.

       In New York City, IHOs are appointed automatically without first confirming
their availability.140 New York City does not impose any time limitation by when an IHO
must recuse him/herself for lack of availability.141 The primary reason for recusals in
New York City is the “unavailability” of the IHO.142

F.    Extensions

      The validity of reported timeliness in New York City cannot be assumed.

      Prevalent practice in New York City is to extend the timeline without a written
order meeting the requirements of 8 NYCRR § 200.5(j)(5).143 This is so, in part, because
in New York City, IHOs are not compensated for interim orders on case extensions.144




      139  Information, including supporting documentation, provided by parent
representatives. Descriptions purposely kept vague to protect against specific cases
being identified.
       140 Interview of Claims Processor. See also Letter from Cathryn Tisenshek,

Supervisor, Office of Special Education, SED, to Chief Administrator, NYCIHO (July 28,
2017) (on file with SED) (requiring the NYCIHO to discontinue the practice of
appointing an IHO to a due process complaint without first confirming availability).
       141 Id.
       142 Discussions with IHOs; review of data provided by SED listing recusal reasons

by IHO in calendar years 2017 and 2018 (on file with SED).
       143 Interview of Appeals Processor; Discussion with IHOs.
       144 Interview of Operations Manager. See also Compensation Policy.



                                           35
                                                                Hyman Decl. Ex. DD- 46
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 47 of 90




Consequently, case extensions are primarily documented through the use of the Case
Follow-Up Sheet (CFUS).145 The CFUS is not intended to be an extension order.146

       Incidences of IHOs unilaterally extending timelines (or extending presumably at
the request of one party but without consulting the other party) or soliciting extensions
from the parties were reported during the review.147

G.     Decision Processing

      The ability of an IHO to issue a hearing decision or order directly to the parties is
“frowned” upon by the NYCIHO.148 The NYCIHO directs IHOs not to directly issue their
own hearing decisions and orders.149

       There are three (3) Decision Processors in the NYCIHO, one of which splits her
time with evidence processing.150 Decision Processors process hearing decisions and
orders.151 There is no written guidance by when IHOs are expected to submit their
hearing decisions and orders to the Decision Processors to allow processing prior to the
compliance date.152 Decision Processors “have been told” they have seven (7) days to
process hearing decisions and five (5) days to process pendency and other interim
orders.153 IHOs regularly submit their hearing decisions and orders in fewer than seven



       145  Interviews of Operations Manager, Appeals Processor, and Case Non-
Compliance Support; Discussions with IHOs. The CFUS is a “data processing sheet”
that all IHOs are required to submit in a variety of circumstances, including each time
an extension is requested. (Interview of Appeals Processor.) (A CFUS is also required
when a prehearing conference, pendency hearing, and hearing is scheduled, as well as
when a case is withdrawn or dismissed. See NYCIHO Case Follow-Up Sheet (Revised
December 4, 2014) (on file with the NYCIHO)).
        146 Interview of Appeals Processor. It is noted that a number of IHOs have

modified the CFUS form to list the cumulative impact factors found in 8 NYCRR §
200.5(j)(5)(ii). Simply listing the factors on the CFUS form does not meet the
regulatory requirements of 8 NYCRR § 200.5(j)(5). See 8 NYCRR § 200.5(j)(5)(iv).
        147 Discussions with parent representatives; Interviews of SEU and IHRO

representatives.
        148 Discussion with IHO. See also Email from Chief Administrator, NYCDOE, to

Cathryn Tisenchek, Supervisor, Office of Special Education, SED (December 8, 2018)
(on file with SED) (“[A]re they instructed to inform the parties that only orders by my
office should be deemed official?”).
        149 NYCIHO New Hire Training, Attended November 20, 2018; Interview of

Decision Processor, NYCDOE. See also SOPM at 18 (“The [NYCIHO] formats and
distributes decisions on behalf of Hearing Officers.”).
        150 Interview of Decision Processor.
        151 Id.
        152 Id.
        153 Id.



                                            36
                                                                 Hyman Decl. Ex. DD- 47
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 48 of 90




(7) and five (5) days, respectively, and, “often,” hearing decisions are received for
processing on the actual compliance date.154

       Staffing allowance, volume of cases, and lack of written guidance by when
hearing decisions and orders are to be submitted prior to the compliance date impedes
the ability of the NYCIHO to meet statutory and regulatory timeline requirements.

V.     DUE PROCESS IMPLICATIONS

       The primacy of a special education due process hearing system is to ensure that
the substantive rights of the parties are protected. Any shortcomings of the system can
lead to denials of due process. This review identified process failures that impinge upon
the ability of the parties to adequately exercise their due process rights.

A.     Physical Space

1.     Inadequate Number of Hearing Rooms

       The number of available hearing rooms is inadequate to meet the demands of the
hearing calendar – 11 hearing rooms is simply not enough, when on average in the past
two school years, there have been over 100 matters on the calendar per day. Both IHOs
and parties should reasonably expect that proceedings will begin promptly at their
appointed time. Keeping IHOs and parties waiting until hearing rooms become
available has real implications to the administration of due process: witnesses are lost,
parties are made to rush through the presentation of their cases, and cases are
adjourned delaying their timely completion.

       Assignment of hearing rooms should not be based on who is able to out-sprint
the others and arrive first to the NYCIHO.

2.     Poor Ventilation / Temperature Control

       Ventilation and heating/cooling concerns have largely gone unaddressed. In
2014, SED requested of the NYCDOE that it take timely action to ensure appropriate
ventilation and temperature control in the hearing rooms. It did not, and parties
continue to choose between exercising their due process rights and being uncomfortable
(because it’s too cold or too hot), their health,155 or confidentiality (by keeping doors
open during hearing proceedings).




       154Id.
       155An IHO, for example, reported that a hearing had to be canceled after an
attorney showed up with a stomach virus that everyone else in the “small, unventilated
room was afraid to catch.” (Written feedback from IHO.)


                                             37
                                                                  Hyman Decl. Ex. DD- 48
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 49 of 90




3.    Unkempt Hearing Rooms

       Poor cleanliness of the hearing rooms erodes respect for and public confidence in
the hearing system and demeans the importance of the proceedings. As one IHO put it,
the “abject lack of dignity in the environment … impacts … the parties’ perception of the
integrity of the proceedings.”156 And, this assessment may hold true. Parties describe
the hearing rooms as “not a great space” and “dark, dingy, and unpleasant.”157

4.    Confidentiality Breaches

      a.     Open Doors

       The poor ventilation/temperature control in the hearing rooms has resulted in a
growing but long-standing practice of hearing proceedings moving forward with doors
open.158 This is a clear violation of IDEA and FERPA’s confidentiality requirements.159
While IHOs have ultimate responsibility to ensure the confidentiality of hearing
proceedings by keeping doors closed during the proceedings, the NYCDOE/NYCIHO’s
continued failure to address the poor ventilation/temperature control concerns has
legitimized the wrongdoing. The presence of individuals milling around in the hallway
because of an overfilled lunch room makes matters worse.

      b.     Poor/Non-Existent Insulation

       An equally concerning matter is the absence of adequate insulation to prevent the
sound bleeds between rooms. In some respects, the sound bleeds are worse than the
open doors. When the doors are open, the parties are aware of the absence of
confidentiality. On the other hand, when doors are closed, there is an expectation of
privacy. In reality, however, depending on the hearing room, discussions can be
overheard in the adjacent room.

      c.     Storing Evidence in Room 202C

       The willingness of the NYCIHO to allow IHOs to store evidence of pending
hearings in the hearing office is commendable. It is a “perk” that avoids the schlepping
of hearing files back and forth from an IHO’s office or home in cases with multiple
hearing days. Nonetheless, keeping these files in unlocked cabinets that are accessible
to other litigants, IHOs, and individuals not associated with the particular cases, is
inconsistent with the confidentiality requirements in IDEA and FERPA and can lead to
impermissible disclosure of personally identifiable information of students.



      156 Written feedback from IHO.
      157 Discussions with party representatives.
      158 In 2014, SED informed the NYCDOE of its concerns regarding the open doors.

See Letter to Executive Director at 2.
      159 See 34 C.F.R. 300.623; 34 C.F.R. 99.30.



                                           38
                                                               Hyman Decl. Ex. DD- 49
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 50 of 90




5.     Lack of Amenities

        Though hearing rooms have the basic essentials for the conduct of hearings (i.e.,
conference tables, chairs, and telephones), the rooms do not include other important
amenities, like computers and access to printers. Use of a copier is restricted to
NYCIHO personnel and IHOs. The lack of access to computers, printers, and a copier
(that parties can also use) has resulted in delays to hearing proceedings and inhibits the
ability of IHOs and the parties to gain quick access without prolonged delays to
information that is digitally stored and readily accessible online.

6.     Inadequate Waiting Area

        The lunch room presents as an uncomfortable and unprofessional setting.
Hearing participants should not need to vie for coveted seats, much less fear for their
safety, while waiting for their hearings to start. The lack of visible security is
concerning.

       The absence of a designated area for parent attorneys/advocates to have
confidential discussions with their clients hinders the right of parents to be
“accompanied and advised by counsel and by individuals with special knowledge or
training with respect to the problems of children with disabilities.”160 IDEA hearings are
legal proceedings. The ability of parents to be able to privately confer with their chosen
representatives during the course of hearings is important.

B.     Payments and Compensation

1.     Payment Delays

        Payment delays of IHO invoices is a frequent occurrence and happen without
notice to the IHOs.161 In 2018 alone, for example, there were two reported lapses, each
lasting several months.162 In July 2018, the NYCIHO had over $2 million dollars of
unpaid IHO invoices.163 These payment delays have resulted in IHOs taking themselves
off rotation, declining appointments of cases, or seeking other work, leaving an


       160 34 C.F.R. § 300.512. The same is true for school district personnel that is
being represented by an attorney from the SEU. However, unlike parents who are
without any options, school district personnel and SEU attorneys can access other
NYCDOE offices in the building, including the IHRO and the Committee on Special
Education 8.
       161 Email Correspondence from Cathryn Tisenchek, Supervisor, Office of Special

Education, NYSED, to Chief Administrator, NYCIHO (July 11, 2018) (on file with
NYSED).
       162 Discussions with IHOs.
       163 Email Correspondence from Chief Administrator, NYCIHO, to Cathryn

Tisenchek, Supervisor, Office of Special Education, NYSED (July 11, 2018) (on file with
NYSED).


                                            39
                                                                Hyman Decl. Ex. DD- 50
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 51 of 90




insufficient number of IHOs to adequately and timely manage any new due process
complaint filings.

2.    IHO Compensation

       New York State’s maximum $100 rate for IHO services is not in keeping with
prevailing community rates for legal services rendered by attorneys who appear before
IHOs.164 Worse, New York City does not compensate on an hourly basis whatever,
opting for a fee schedule that compensates IHOs per task at rates that are not
commensurate with the awesome responsibilities that they have undertaken. The rates
have remained unchanged for 20+ years. For example, the hearing rate of $300 per day
in New York City effectively pays IHOs $40 per hour.165 The same hearing officers,
however, would be paid $100 per hour in surrounding counties for the same work. The
$40 per hour effective rate is not an appropriate compensation rate for individuals
required to be licensed attorneys and highly trained.166 IDEA hearings have grown in
complexity in the past 20+ years. What had been a brief administrative hearing is now
more litigious with increased legal complexity.

        IHOs do, and must, wisely exercise broad authority in their handling of the
hearing process. The IDEA and its implementing regulations delineate the specific
rights accorded to any party to a due process hearing.167 The IHO is charged with the
specific responsibility “to accord each party a meaningful opportunity to exercise these
rights during the course of the hearing.”168 It is further expected that the IHO “ensure
that the due process hearing serves as an effective mechanism for resolving disputes
between parents” and the school district.169 In this regard, apart from the hearing rights
set forth in IDEA and the regulations, “decisions regarding the conduct of [IDEA] due
process hearings are left to the discretion of the [IHO],” subject to appellate review.170

        The use of interim orders is an effective tool to managing the process. Yet, in
New York City, IHOs are not compensated for writing interim orders (other than
pendency, sufficiency, and consolidation) or for performing functions essential to the
efficient and timely administration of due process complaints.171 This is simply

      164  See Footnotes 100 and 101 and accompanying text, supra.
      165  Prior to October 1, 2001, New York State had a maximum compensation rate
of $40 per hour, not to exceed $300 per day for a 7.5-hour day. Memorandum from
Lawrence C. Gloeckler, to District Superintendents, et. al (August 2001),
http://www.p12.nysed.gov/specialed/publications/policy/ihocompmemo.html,
Accessed Jan. 17, 2019.
       166 In addition to an initial 40-hour training program, IHOs must participate in

one (1) full-day onsite training program and three (3) two-hour webinar programs on an
annual basis. See 8 NYCRR §§ 2oo.1(x)(4)(i) and (ii).
       167 See 34 C.F.R. § 300.512.
       168 Letter to Anonymous, 23 IDELR 1073 (OSEP 1995).
       169 Id.
       170 Id.
       171 See Footnotes 114 through 119 and accompanying text, supra.



                                           40
                                                                Hyman Decl. Ex. DD- 51
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 52 of 90




inconsistent with appropriate, standard legal practice, which the IDEA mandates.
Anything less than what IDEA mandates, denies the parties due process.

       Similarly, the lack of adequate compensation for prehearing conferences is the
primary reason given by most IHOs for why they do not conduct prehearing conferences
in New York City.172 An IHO in New York City is compensated a one-time fee per case of
$40 for conducting a prehearing conference. There is no compensation for writing the
follow-up summary and order. Best practice, however, is for IHOs to hold prehearing
conferences in every case to discuss the important matters listed at 8 NYCRR §
200.5(j)(3)(xi), including “simplifying or clarifying the issues” for hearing. Yet, the
Compensation Policy financially discourages IHOs from conducting prehearing
conferences and issuing prehearing orders, depriving the parties of effectively engaging
with IHOs in addressing essential matters in advance of the hearing.173

       Inadequate compensation is also to blame for decisions that do not reflect
appropriate, standard legal practice.174 The Compensation Policy allows for one $300
payment for decision writing per case,175 with additional decision-writing-day-
payments of $300 per day but only for subsequent hearing days lasting longer than four
(4) hours.176 Compensating for decision writing based on a flat rate of $300 and the

       172  A prehearing conference is not required in New York State. It is discretionary
with the hearing officer. See 8 NYCRR § 200.5(j)(3)(xi) (“A prehearing conference with
the parties may be scheduled.”) (Emphasis added.).
        173 For the unrepresented parent (i.e., the pro se), the lack of a prehearing

conference can have devastating consequences to the parent’s ability to exercise the
right to due process. It cannot be over emphasized that for many reasons the
prehearing conference is usually the most important strategy an IHO can use to help the
unrepresented parent understand and navigate the hearing process.
        174 Pursuant to the IDEA, IHOs must “possess the knowledge and ability to render

and write decisions in accordance with appropriate, standard legal practice.” 34 C.F.R.
§ 300.511(c)(1)(iv). More specifically, and consistent with appropriate, standard legal
practice, a well-written decision would include the following basic components: (i) the
specific issues to be decided; (ii) the facts determined to be relevant and relied upon to
decide the identified issue(s) (i.e., findings of fact); (iii) the applicable legal standard for
each disputed issue and a discussion that applies the law to the facts (i.e., conclusions of
law); and, (iv) a simple, concise and comprehensible order that precisely defines for the
parties the next steps, if any, to be taken, by whom, and by when. Early on, in
consultation with SED, the training entity responsible for providing professional
development programs to IHOs on a yearly basis, identified decision writing as an area
in need of improvement. (This was determined, in part, by an independent review by
the training entity of various sample decisions written by New York State IHOs.)
Accordingly, in the past seven (7) years, SED has invested considerable time in training
IHOs in writing thorough and well-reasoned decisions, with particular emphasis on the
care that should be given to the preparation and presentation of the written decisions
consistent with appropriate, standard legal practice.
        175 See Compensation Policy at 6.
        176 Id.



                                              41
                                                                    Hyman Decl. Ex. DD- 52
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 53 of 90




length of the hearing rather than on the actual time needed to write a thorough, careful,
and well-reasoned decision is inadequate and fails to take into consideration that some
cases are more complex than others and require a greater investment of time. Also, a
substandard decision can result in the hearing process being viewed by the losing party
as unfair and the outcome suspect, increasing the likelihood of an appeal,177 not to
mention the potential continuing deprivation of appropriate education to the student.
And, the State review officer and courts, on appeal, will deem them worthy of little, if
any deference.178

       In all, the Compensation Policy does not reflect the reality of the work that IHOs
are required to do, “resulting in IHOs having to figure out ways to do their work in order
to end up being compensated fairly.”179 This includes vetting cases to refuse
appointment of cases with perceived difficult attorneys, complex due process
complaints, and pro so litigants, who command significantly more of the IHO’s time
than a represented parent.

C.     School District Representatives

1.     Limited Number of School District Representatives

       Though New York City is not expected to have as many school district
representatives as there are due process complaints filed, the current configuration is
wholly inadequate to credibly respond to the school district’s daily hearing obligations.
IHOs and parents alike have been required to wait for school district representatives
that are tied up in other hearing matters, resulting in unnecessary delays.

D.     Hearing Process

1.     Timely Appointment of IHOs and Subsequent Recusals

       In New York State, upon receipt of the due process complaint, an IHO must be
immediately appointed to the case but, in no event, later than two business days of the
school district receiving the complaint.180 Appointment of an IHO is essential, and the



       177 C. Thibaut and L. Walker, Procedural Justice: A Psychological Analysis
(Hillsdale, NJ: Lawrence Erlbaum, 1975).
       178 See Walczak v. Florida U.F.S.D., 142 F. 3d 119, 27 IDELR 1135 (2d Cir. 1998)

(“Deference is particularly appropriate when … the state hearing officers’ review has
been thorough and careful.”). See also P.C. v. Rye City Sch. Dist., 232 F. Supp. 3d 394,
66 IDELR 122 (2017) (declining to defer to the IHO decision because it was “rambling,
incomplete …, [and] frankly an embarrassment,” and directing the school district to
send a copy of the judge’s decision and the IHO decision “to the NYSED official
responsible for certification of IHOs).
       179 Discussions with IHOs.
       180 8 NYCRR § 200.5(j)(3)(i)(a).



                                            42
                                                                Hyman Decl. Ex. DD- 53
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 54 of 90




State must maintain a list of individuals who are qualified to conduct hearings and
render and write decisions in accordance with appropriate, standard legal practice.181

      The IDEA does not regulate the manner by which an IHO is selected and
appointed to a due process hearing. This function is left to the State to decide. New
York State has elected a rotation selection process:

       Appointment of [IHOs] … shall be made only from such list and in accordance with
       the rotation selection process …. Such names will be listed in alphabetical order.
       Selection from such list shall be made on a rotational basis beginning with the first
       name appearing after the impartial hearing officer who last served or, in the event no
       impartial hearing officer on the list has served, beginning with the first name
       appearing on such list. Should that impartial hearing officer decline appointment, or
       if, within 24 hours, the impartial hearing officer fails to respond or is unreachable
       after reasonable efforts by the district that are documented and can be independently
       verified, each successive impartial hearing officer whose name next appears on the
       list shall be offered appointment, until such appointment is accepted. The name of
       any newly certified impartial hearing officer who is available to serve in the district
       shall be inserted into the list in alphabetical order.182

       An IHO may not be appointed to hearing unless s/he is available to make a
determination of sufficiency within five (5) days of receiving the notice of insufficiency
and to initiate the hearing within 14 calendar days of the applicable time period.183

        New York City’s practice of automatically appointing an IHO to a due process
complaint without first confirming his/her availability is inconsistent with the
regulatory requirement in 8 NYCRR § 200.2(e)(1)(ii). Further, the failure of New York
City to set a time limitation by when an IHO must inform the NYCIHO of his/her
unavailability, risks that the hearing decision in the case is not issued within the 45-day
timeline. Moreover, because an IHO is appointed without first confirming his/her
availability, the IHO is unnecessarily provided with personally identifiable information
of the student and is impermissibly allowed to vet the due process complaint before
deciding whether to accept the appointment.

      Unavailability of IHOs is the primary reason for the high number of recusals in
New York City. Each instance of recusal results in delays to the hearing timeline, with a
growing number of cases having multiple recusals and extending out by several months.

2.     Questionable Extensions

        The prevalent practice in New York City of extending hearing timelines without
written orders that meet the requirement of 8 NYCRR § 200.5(j)(5) thwarts SED’s
ability to effectively monitor the timelines. It is more likely than not that New York City


       181 See 34 C.F.R. § 300.511(c)(3).
       182 8 NYCRR § 200.2(e)(1)(ii).
       183 8 NYCRR § 200.5(j)(3)(i)(b).



                                             43
                                                                   Hyman Decl. Ex. DD- 54
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 55 of 90




has a greater number of untimely cases than reported and that the incidence of IHOs
unilaterally extending timelines or soliciting extensions from parties is considerable.

3.     Decision Processing

        Requiring that IHOs submit their hearing decisions and orders for processing
and distribution to the parties is resulting in numerous hearing decisions and orders
being issued after the compliance date. Processing includes making minor adjustments
to the fonts and margins of each document and, for decisions, adding the caption, list of
appearances per hearing day, and typing the list of evidence submitted by each party
during the course of the hearing. (IHOs can ask that their hearing decisions or orders
be issued without formatting, but few do.) The NYCIHO simply does not have the man
power to timely process the many hearing decisions and orders that are generated in
New York City.

VI.    SED’s AUTHORITY TO ENSURE COMPLIANCE

       SED has general supervisory responsibility to ensure that each school district is
meeting IDEA requirements.184 This extends to ensuring that each school district is, not
only meeting State educational standards, but also other IDEA requirements, like due
process.185 The authority to monitor and enforce systematic compliance with IDEA and
State requirements requires follow through.

       [T]he state’s role amounts to more than creating and publishing some procedures
       and then waiting for the phone to ring. The IDEA imposes on the state an
       overarching responsibility ….186

It’s authority to follow through, is not limited.187

VII.   RECOMMENDATIONS – FOR IMMEDIATE ACTION

       Indeed, the process failures confirmed in this report are long-standing and
allowed to fester with impunity. Notwithstanding SED’s efforts to “right the ship,” New
York City’s hearing system is in rapid, continuing decline. The problems are many.
And, though this report finds that the NYCIHO shares culpability, it is not entirely to
blame – the NYCDOE’s macro-level problems feed the NYCIHO’s micro-level
challenges. Yet, though this helps to explain the process failures, it does not excuse
them.

       Change is needed. Immediately. And, though the larger NYCDOE is not the
subject of this review, its cooperation is essential to SED’s efforts to reform the hearing

       18420 U.S.C. § 1412(a)(11)(A).
       185See 34 C.F.R. § 300.149(a)(2)(ii).
      186 Cordero v. Commonwealth of Pennsylvania Dept. of Educ., 795 F. Supp. 1352,

18 IDELR 1099 (M.D. Pa. 1992).
      187 See 20 U.S.C. § 1412(a)(11); 34 C.F.R. § 300.608(b).



                                              44
                                                                  Hyman Decl. Ex. DD- 55
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 56 of 90




system in New York City. Corrective action, therefore, should be directed to both the
NYCDOE and the NYCIHO.

      Recommendations follow.

A.    Physical Space

1.    Expansion of the NYCIHO to Accommodate Additional Hearing Rooms

      The NYCDOE and NYCIHO should be required to expand the number of hearing
rooms available.

       Expansion will not be easy, given the space constraints on the second floor of 131
Livingston Street. Nonetheless, the location of the NYCIHO should remain at 131
Livingston Street. Its proximity to nine (9) subways lines makes it quite accessible for
those traveling from surrounding areas. Consideration, therefore, should be given to
moving the IHRO and the two computer rooms to other locations and reconfiguring the
floor plan to accommodate additional hearing rooms. Administrative offices of the
NYCIHO that are not essential to the administration of the actual hearings themselves
on a day-to-day basis (e.g., file rooms, back-office personnel) should be relocated to
other floors within the building.

2.    Ventilation / Temperature Control

       The NYCDOE and NYCIHO should be required to conduct a comprehensive
building condition and HVAC assessment of the second floor of 131 Livingston Street to
determine how to improve ventilation in the hearing rooms and regulate temperature.
Mini-split systems should be considered for windowless hearing rooms. The existing
window and portable air conditioning units should be replaced with quieter units that
emit lower ambient white noise.

3.    Cleanliness and Upkeep

       The NYCDOE and NYCIHO should be required to maintain the cleanliness and
upkeep of the hearing office. Hearing rooms should be decluttered of any unnecessary
furniture. Consideration of a fresh coat of paint is suggested.

4.    Sound Proofing

      The NYCDOE and NYCIHO should be required to sound proof hearing rooms to
eliminate sound bleeds between hearing rooms.




                                           45
                                                                Hyman Decl. Ex. DD- 56
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 57 of 90




5.     Access to Amenities

       The NYCDOE and NYCIHO should be required to equip all hearing rooms with
computers attached to the internet and with network printing capabilities. Public access
should be restricted, with IHOs being given individual login credentials. Parties should
have limited access to a copier, as needed and as directed by IHOs.

6.     Waiting Area and Access to Privacy

       The NYCDOE and NYCIHO should be required to relocate reassigned teachers to
another site. A designated area to allow parents to speak privately with their
attorneys/advocates, as needed, should be required and identified.

B.     Payments and Compensation

1.     Prompt Payments

      The NYCDOE and NYCIHO should be required to allocate sufficient funds based
on projected expenses based on prior expenditures and anticipated increases.

        The NYCDOE and NYCIHO should further be required to review its IHO
payment practices and make necessary changes to ensure that payments are made by no
later than 30-calendar days from submission of invoices. Should late payments be
anticipated, the NYCIHO should be required to have a process in place to inform IHOs
of the reason for any late payments and the anticipated timeline by when payments will
be made.

2.     IHO Compensation

      SED should immediately determine the Compensation Policy to be inconsistent
with New York State law and Policy 01-11 and require corrective action.

       The NYCDOE and NYCIHO should be required to adopt a Compensation Policy
that compensates IHOs for all prehearing, hearing, and post-hearing activities that are
consistent with appropriate, standard legal and best practices, as determined by SED in
consultation with experts in the field. The revised policy should, at a minimum, require
payments for all conferences held (inclusive of an unlimited number of scheduling,
prehearing and status conferences), interim orders issued, and essential administrative
tasks (such as certification of the record). A reasonable hourly/fee for transcript review
and decision writing should be established and payment should be commensurate with
the work rendered.

       Invoices should be subject to review and challenge, with SED establishing an
independent review fast-track process that also permits the IHO to explain questioned
tasks.




                                            46
                                                                Hyman Decl. Ex. DD- 57
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 58 of 90




C.    School District Representatives

        The NYCDOE and NYCIHO should be required to have, commensurate with the
number calendared hearing matters, a sufficient and reasonable number of school
district representatives available to appear in hearing proceedings.

D.    Hearing Process

1.    Appointment of IHOs and Recusals

       The NYCDOE and NYCIHO should be required to submit a written plan to SED
for review and approval regarding the IHO appointment process. The plan should
require the NYCIHO to first ascertain whether an IHO is available to make a
determination of sufficiency and to initiate the hearing within 14 calendar days of the
applicable time period. Only then should an IHO be appointed to the complaint and
recusal be limited to either a personal or professional interest of the IHO that would
conflict with his or her objectivity, or an extenuating personal reason that subsequently
makes the IHO unavailable.

       SED should issue an advisory to IHOs on the New York City rotation list
informing them that the appointment of an IHO who is listed as active will be presumed
that s/he will accept the case unless the IHO confirms in writing, with detailed reasons
provided, that s/he has either a personal or professional interest that conflicts with his
or her objectivity, or s/he becomes unavailable because of a subsequent extenuating
personal reason. Any abuses to appointment process should be reported to SED for
investigation and, if substantiated, disciplined.

2.    Extensions

       SED should issue an advisory to IHOs on the New York City rotation list
informing them that a written order that meets the requirements of 8 NYCRR §
200.5(j)(5) is required for each extension request. The use of the CFUS form should be
eliminated and IHOs should be permitted, and compensated for, uploading extension
information, including the written order, into IHS by the compliance date or within two
(2) business days of granting or denying the extension request, whichever is sooner.

3.    Decision Processing

       SED should issue an advisory to IHOs on the New York City rotation list
informing them that they are to directly issue all hearing decisions and orders within
application timelines to the parties. IHOs should be permitted, and compensated for,
uploading the hearing decisions and written orders into IHS by the compliance date or
within two (2) business days of issuing the hearing decision or written order, whichever
is sooner.




                                            47
                                                                Hyman Decl. Ex. DD- 58
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 59 of 90




4.     Pendency Orders

       The NYCDOE and NYCIHO should be required to stop the ongoing practice of
not maintaining a student’s uncontested current educational placement absent a written
order from an IHO. Such practice violates IDEA, delays continued services to students,
and increases litigation costs to parents unnecessarily.

VIII. ADDITIONAL CONSIDERATIONS

        The evident failings in New York City hearing system will not be resolved alone
simply by adopting the recommendations above. It would be naïve to think so. The
larger NYCDOE must do its part to alleviate the stressors on the NYCIHO. But this
would require time. Considerable time. But, as mentioned above, though the NYCIHO
is not entirely to blame, the pressures brought to bear on it do not excuse its affirmative
responsibility to respond to the changing needs. It has had time to do it – these process
failures have been long in the making. Its ability to effectuate meaningful and
sustainable change on its own is uncertain.

       And, therefore, SED should consider a system-wide, substantial restructuring of
its hearing system. Further consideration should be given to –

       •   transitioning from a two-tier to a one-tier hearing system;

       •   shifting to a contractual full-time IHO model, with provision for part-time
           IHOs for overflow during peak times or, in the alternative, establishing a
           uniform, minimum hourly rate commensurate with prevailing rates for
           prehearing, hearing, and post-hearing activities;

       •   establishing and implementing an IHO evaluation system, inclusive of review
           of work product;

       •   adding personnel to the Office of Special Education at SED – if not
           permanently, at least temporarily – to oversee the NYC due process system
           changes;

       •   expanding the systemic oversight of IHOs to include greater monitoring of
           work-product, technical assistance provided, and intervention and
           remediation, as needed;

       •   overhauling State regulations to align hearing procedures to best practices
           (e.g., mandating prehearing conferences; eliminating 30-day cap to hearing
           extensions);

       •   drafting a hearing manual of appropriate standard practices not specifically
           addressed in regulations; and,




                                            48
                                                                 Hyman Decl. Ex. DD- 59
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 60 of 90




       •   incorporating model forms and templates to increase uniformity.

IX.    CONCLUSION

       In short, this review confirms that the New York State hearing system is in crisis,
particularly because of the number of due process complaint filings in New York City.
Process failures in the NYCIHO complicate an already fragile system. Much is needed.

       President John F. Kennedy once said –

       There are costs and risks to a program of action. But they are far less than the
       long-range risks and costs of comfortable inaction.

To this reviewer, there is no doubt: the time for decisive action is now.




                                            49
                                                                 Hyman Decl. Ex. DD- 60
 Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 61 of 90



                                                             Attachment E




                New York State Education Department
                         Office of Special Education




New York City Department of Education
     Compliance Assurance Plan




                          May 2019


                                                 Hyman Decl. Ex. DD- 61
            Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 62 of 90



                                                                                         NYCDOE Compliance Assurance Plan April 2019
Table of Contents
Overview .................................................................................................................................................................. 1
 Purpose ................................................................................................................................................................. 1
 Background ......................................................................................................................................................... 1

Section I: Provision of a Free Appropriate Public Education to Preschool Students
with Disabilities ..................................................................................................................................................... 4
  Timely Evaluations........................................................................................................................................... 4
  Programs and Services in the Least Restrictive Environment ........................................................ 6

Section II: Provision of a Free Appropriate Public Education (FAPE) for School-Age
Students with Disabilities ............................................................................................................................... 12
  Timely Evaluations........................................................................................................................................ 12
  Programs and Services ................................................................................................................................ 13

Section III: Affording Students with Disabilities and Their Parents All the Rights and
Procedural Safeguards Required by Federal and State Law and Regulations ........................... 18
  Maintenance of a Functional Due Process Hearing System .......................................................... 18
    Failure to Provide Due Process to Parents ........................................................................................ 18
        Failure to Provide Due Process Data ................................................................................................... 20
        Failure to Ensure Access to Mediation ................................................................................................ 20
   Prior Written Notice (PWN) ...................................................................................................................... 21

Verification of Compliance ............................................................................................................................. 24

Appendices ........................................................................................................................................................... 24

Related Documents of Interest ..................................................................................................................... 26

Acronyms and Abbreviations ........................................................................................................................ 27




                                                                                                                           Hyman Decl. Ex. DD- 62
        Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 63 of 90




Overview
Purpose
As of February 21, 2019, the New York City Department of Education (NYDOE) has received
7,448 due process complaints related to the provision of special education and related
services for the 2018-19 school-year. This surpasses the total number of due process
complaints filed with NYCDOE for the 2017-18 school-year (i.e., 7,144).

In addition, NYCDOE has multiple outstanding findings of noncompliance involving the
requirements to ensure proper procedural safeguards to students and parents, and the
provision of programs and services to preschool and school-age students with disabilities.
For the past 13 school years, the New York State Education Department (NYSED) has been
addressing the resolution of this noncompliance through the issuance of multiple separate
compliance assurance plans aligned to specific schools and/or Community School Districts
and meeting monthly with representatives from the NYCDOE Division of Specialized
Instruction and Student Support for the provision of technical assistance. While this
approach has led to progress in the resolution of some local school or district-specific areas
of noncompliance, it has not resulted in the systemic change necessary to sustain compliance
and/or scale-up effective approaches to ensuring compliant policies, procedures, and/or
practices in the identified areas.

When a public agency has a policy, procedure, or practice applicable to a group of children
that is inconsistent with Part B of the Individuals with Disabilities Education Act (IDEA) or
the Part B regulations that implement IDEA, this is evidence of systemic noncompliance. 1

This document provides a detailed report of NYCDOE’s provision of a free appropriate public
education (FAPE) for students with disabilities and protection of parental and student rights
and contains required actions to be taken by NYCDOE to correct noncompliance.

Background
NYSED has the responsibility under federal law to have a system of general supervision that
monitors the implementation of IDEA by local educational agencies (LEA), including
NYCDOE. The system must be accountable for enforcing the requirements of IDEA and for
ensuring continuous improvement. As identified in section 616 of IDEA, the primary focus
of federal and State monitoring activities must be on improving educational results and
functional outcomes for all students with disabilities and ensuring that states meet the
program requirements under Part B of IDEA, with emphasis on those requirements that are


1 United States Department of Education, Office of Special Education Programs: Dispute Resolution Procedures
under Part B of the Individuals with Disabilities Education Act (Part B) (Page 20)
(https://www2.ed.gov/policy/speced/guid/idea/memosdcltrs/acccombinedosersdisputeresolutionqafinalm
emo-7-23-13.pdf)

                                                                                                     Page 1

                                                                             Hyman Decl. Ex. DD- 63
        Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 64 of 90




most closely related to improving educational results for students with disabilities. IDEA
requires each state to have in place a State Performance Plan (SPP) that evaluates its efforts
to implement the requirements and purposes of Part B of IDEA and describes how the state
will improve such implementation. The SPP, submitted every six years, includes measurable
and rigorous targets for the indicators established under three monitoring priority areas [1.
FAPE in the Least Restrictive Environment (LRE); 2. Disproportionality; and 3. General
Supervision Part B, including Child Find, Effective Transition, and Effective General
Supervision].

Each state is required to make annual determinations about the performance of each public
school district based on its annual performance relating to SPP indicators [34 CFR §300.600].
These determinations must be made in consideration of information obtained through
monitoring visits, other public information made available, including any audit findings, and
whether the data submitted by the district is valid, reliable, and timely. NYSED must consider
compliance and may consider other performance indicators in relation to the state’s targets
for improvement for these indicators. Based upon this information, NYSED makes one of
four determinations for each district: meets the requirements and purposes of IDEA, needs
assistance in implementing the requirements of IDEA, needs intervention in implementing
the requirements of IDEA, or needs substantial intervention in implementing the
requirements of IDEA (34 CFR 300.603). NYSED makes its annual IDEA determinations
based on consideration of both a district’s performance outcomes and compliance status.
Additional information on the criteria used for the current IDEA determinations is available
in NYSED’s New York State Education Department 2018 Criteria for School District
Determinations under the Individuals with Disabilities Education Act (IDEA). 2

NYCDOE has been identified as not meeting the requirements of IDEA for 13 consecutive
years due to performance and/or compliance outcomes for the subgroup of students with
disabilities and was recently notified of its 2018-19 school year identification as a district
that needs intervention in implementing these requirements.3 In response to these
identifications, NYSED has worked with NYCDOE in the development of a special education
strategic action plan to support the implementation of effective school teams and
Committees on Special Education (CSE) through a focus on Access, Quality Individualized
Education Programs (IEP), Behavior, and Transition.4 Additionally, NYSED and NYCDOE
continue to collaborate to address the shortage of appropriately qualified staff to provide the
necessary bilingual special education programs and services for students with disabilities.

NYSED has also documented that parents/guardians of students with disabilities are not
being provided timely access to an impartial hearing upon the filing of a due process
complaint notice with NYCDOE. This is based upon several reasons, many of which are

2 Appendix A, New York State Education Department 2018 Criteria for School District Determinations under the
Individuals with Disabilities Education Act (IDEA).
http://www.p12.nysed.gov/specialed/spp/nysdeterminations/documents/determination-criteria-2018.pdf
3 Appendix B, Letter from Christopher Suriano, Assistant Commissioner, to Richard Carranza, Chancellor

(February 15, 2019) regarding 2018 Accountability Status under Part B of the Individuals with Disabilities
Education Act (IDEA).
4
  Appendix C, School Communities Inclusive of All Students Action Plan 2018-19.

                                                                                                     Page 2

                                                                             Hyman Decl. Ex. DD- 64
          Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 65 of 90




described in the attached report, “An External Review of the New York City Impartial Hearing
Office.”5 Under NYCDOE’s new leadership, NYSED has recently met with members of the
NYCDOE Office of School Planning and Development responsible for the operation and
management of the due process hearings to discuss and resolve challenges highlighted
within the external review. Not to be overlooked among the reasons cited in the report is
the sheer volume of due process complaints filed against NYCDOE by parents, as well as
thousands of other settlements in which NYCDOE engages with parents of students with
disabilities under their 10-Day Notice reimbursement procedure.6 New York State has more
special education due process complaints filed annually than any other state, and over 90
percent of those complaints in school year 2017-18 (94 percent) were filed in New York City.




5   Appendix D, “An External Review of the New York City Impartial Hearing Office.”
6   Appendix D page 13, footnote 33

                                                                                                Page 3

                                                                               Hyman Decl. Ex. DD- 65
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 66 of 90




Section I: Provision of a Free Appropriate Public
Education to Preschool Students with Disabilities
NYCDOE fails to provide a free appropriate public education (FAPE) to students with
disabilities, aged 3 through 5 (20 U.S.C. §§1419, 1416(a)(3)(A); 34 CFR §300.101; Educ. Law
§4410; 8 NYCRR §§200.4(e)(7), 200.16(f)[6]).

New York State’s measurable and rigorous targets pursuant to its SPP, and other objective
reviews of NYCDOE data identified the following noncompliance with respect to NYCDOE’s
obligations to preschool students with disabilities:
    1. Failure to complete timely evaluations pursuant to Child Find requirements;
    2. Failure to effectively transition children from early intervention (EI) services to
       preschool special education services;
    3. Failure to provide special education services and programs as required by students’
       individualized education program (IEP); and
    4. Failure to provide special education services and programs in the LRE.

While these findings are systemic in nature, it must be noted that this does not mean that the
noncompliance affects all children’s receipt of FAPE.

Timely Evaluations
Initial Eligibility Preschool Evaluations and Early Childhood Transition

NYCDOE fails to timely evaluate children for eligibility for preschool special education
programs and services in accordance with 20 U.S.C. §1416(a)(3)(B); 8 NYCRR §200.16(c),
(e), and (f); see also Performance and/or Compliance Indicator 11 from the SPP.

NYCDOE fails to timely transition children from EI (Part C of IDEA) to preschool special
education programs and/or services (Part B of IDEA) in accordance with 20 U.S.C.
§1416(a)(3)(B); 8 NYCRR §200.16(c), (e), (f); see also Performance and/or Compliance
Indicator 12 from the SPP.

Description of Noncompliance: Initial Eligibility Preschool Evaluations

NYCDOE annually submits Special Education Verification Report data under SPP Indicator
11 regarding the timeliness of initial evaluations for preschool-age students with disabilities
to determine eligibility for special education. NYCDOE has not demonstrated significant
improvement in meeting performance targets for the percentage of children with parental
consent to evaluate, who were evaluated and whose eligibility was determined within State-
established timelines.




                                                                                        Page 4
                                                                   Hyman Decl. Ex. DD- 66
        Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 67 of 90




               SPP I NDI CATO R 1 1 PRESCHO O L CO MPLI A NCE RAT E
                             NYCDOE         NYS Data      NYS Target
 100%
               100%                100.0%               100.0%              100.0%

  95%


  90%

                                                        88.6%                88.0%
  85%
               85.8%               85.2%

  80%


  75%


  70%          72.7%                                    72.5%

                                                                             68.3%
  65%                              66.9%


  60%
             2014-15             2015-16               2016-17             2017-18


Monthly data reports provided by NYCDOE from July through October 2018 indicate that an
average of approximately 1,360 open committee on preschool special education (CPSE)
cases citywide exceeded the mandated timelines set forth in SPP Indicator 11. For the 10
regional CSEs, which encompass the 32 CPSEs, four of the 10 had an average of over 100
cases per month where initial evaluations were not completed within 60 days of parental
consent (one regional CSE had an average of 391 outstanding cases per month in excess of
the 60-day timeline).

Description of Noncompliance: Early Childhood Transition

New York State Early Childhood Transition data is impacted by the number of children
continuing in EI after their third birthday. When this factor is not counted toward
noncompliance, the compliance rate for timely early childhood transition increases. While
consideration of this factor improves the NYCDOE compliance rate, NYCDOE data submitted
in the Special Education Verification Report for SPP Indicator 12 regarding effective
transition of children referred from EI (Part C) to CPSE (Part B) demonstrates that NYCDOE’s
number of records with noncompliant reasons for failure to meet applicable timelines
account for almost all such noncompliance statewide.




                                                                                      Page 5
                                                                  Hyman Decl. Ex. DD- 67
        Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 68 of 90




             SPP Indicator 12 Data                        2014-15      2015-16      2016-17   2017-18
 NYCDOE Number of Records with
                                                                  73           63        50        123
 Noncompliant Reasons
 Number of Records with Noncompliant
                                                                  97           80        54        130
 Reasons Statewide
 NYCDOE Compliance Rate*                                     90.9%        92.3%      92.9%       85.4%
 Percent of Noncompliance Attributed to
                                                             94.8%        91.3%      92.6%       96.9%
 NYCDOE
*This calculation method includes continuation in EI in the compliance rate.

For the 10 regional CSEs, which encompass the 32 CPSEs, the following CSEs, including
impacted community school districts, have the highest rate of late eligibility determinations
and/or IEP implementation dates: CSE 7 (Community School Districts 20, 21, 31); CSE 4
(Community School Districts 24, 27, 30); CSE 8 (Community School Districts 13, 14, 15, 16);
CSE 9 (Community School Districts 1, 2, 4); and CSE 1 (Community School Districts 7, 9, 10).

As identified in meetings between NYSED and NYCDOE, failure of NYCDOE to meet SPP
Indicator 11 and/or SPP Indicator 12 performance targets from school year 2015-16 to the
present was attributed to:
    1. An insufficient number of CPSE administrators to schedule and conduct CPSE
       meetings;
    2. An insufficient number of administrative support staff to input assessment reports
       from evaluators, eligibility determinations, and IEPs into NYCDOE’s data collection
       and monitoring system - Special Education Student Information System (SESIS); and
    3. An insufficient number of available seats to accommodate mandated enrollment in
       special classes and integrated classes/programs to allow for timely IEP
       implementation.

Programs and Services in the Least Restrictive Environment
Regional Need for Preschool Special Education Programs

NYCDOE fails to provide preschool special education programs and services in accordance
with 20 U.S.C. §1419; Educ. Law §4410; 8 NYCRR §§200.4(e)(7), 200.16(f)(6).

Description of Noncompliance:

Regional need data examined jointly by NYSED and NYCDOE demonstrates that the current
demand for preschool special education programs and services significantly exceeds the
existing number of programs and providers available to appropriately serve the IEPs of
preschool students with disabilities residing in New York City. Based on the multiple
measures used to evaluate the regional need data and the high level of systemic and
continuing unresolved needs, it is determined that NYCDOE is failing to provide special
education programs and services in conformity with student IEPs as required by FAPE
standards.


                                                                                                  Page 6
                                                                               Hyman Decl. Ex. DD- 68
          Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 69 of 90




NYCDOE supplies multiple data factors to project both current and anticipated placement
needs for each of the 32 community school districts. These factors consider capacity of
existing programs, trends in the number and type of CPSE placement recommendations,
NYCDOE’s list of students “awaiting placement” and receiving “partial services,” the number
of children transitioning from EI, children transitioning to kindergarten and factors
attributed to existing placements which may indicate that alternative program options could
be utilized, and alignment with bilingual education and related service needs.

NYCDOE’s regional need list for preschool special education programs is posted on NYSED's
website.7 NYSED also electronically notifies relevant stakeholders. Developing a
comprehensive list and publicly sharing this information allows interested private providers
to identify opportunities to create new programs and informs NYCDOE’s strategic planning
for expanding preschool programs in its community school district-operated classrooms.
However, NYCDOE-operated program expansions in recent years have not consistently
aligned with the identified published regional need.

Least Restrictive Environment

NYCDOE fails to ensure that, to the maximum extent appropriate, children with disabilities,
including children in public or private institutions or other care facilities, are educated with
children who are nondisabled; and special classes (SC), separate schooling, or other removal
of children with disabilities from the regular educational environment occurs only if the
nature or severity of the disability is such that education in regular classes with the use of
supplementary aids and services cannot be achieved satisfactorily in accordance with 20
U.S.C. §1412(a)(5); 34 CFR §§300.114, 300.115; Educ. Law §4410; 8 NYCRR
§200.16(e)(3)(i); see also Performance and/or Compliance Indicator 6 from the SPP.

Description of Noncompliance: Separate Setting

NYCDOE annually reports data under SPP Indicator 6 relating to the educational setting in
which students with disabilities receive their special education and related services. This
data is calculated for SPP Indicator 6B, the percentage of children aged 3 through 5 with IEPs
who attend a separate special education class, separate school, or residential facility
(separate setting). As these percentages include students 5 years of age, Indicator 6B is
based on both preschool-age and school-age student data.

NYCDOE data for students aged 3 through 5 with IEPs attending a separate special education
class, separate school, or residential facility exceeds the State’s targets in the SPP Indicator
6B:




7
    http://www.p12.nysed.gov/specialed/publications/preschool/regional-need.html


                                                                                           Page 7
                                                                          Hyman Decl. Ex. DD- 69
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 70 of 90




          SPP Indicator 6B Data: Separate Setting               2016-17    2017-18    2018-19
 New York State target for students aged 3 through 5 in a         20%        19%        18%
 separate setting                                                or less    or less    or less
 NYCDOE % students aged 3 through 5 in a separate setting        31.1%      29.5%      31.2%
 NYCDOE % preschool students only in a separate setting          45.8%      50.4%      52.3%

The number of preschool students with disabilities attending a separate setting LRE data is
at odds with the significant investments being made by the State and City to expand early
learning opportunities for preschool-aged children. Data and information reported by
NYCDOE demonstrates that not all preschool students with disabilities have the same access
to the benefits of the State-administered prekindergarten programs which are afforded to
other students residing in New York City.

           New York State Prekindergarten Final Program Report                        2017-18
 Number of preschool students who received related services only or SEIS while
                                                                                       5,247
 enrolled in NYCDOE State-administered prekindergarten programs
 Number of preschool students who received SCIS programming in a classroom
                                                                                        317
 co-located with a NYCDOE State-administered prekindergarten program

NYCDOE enrolls preschool students with disabilities in its State-administered
prekindergarten programs when its CPSE has recommended related service only or special
education itinerant services (SEIS). Although it is a longstanding practice in New York City
to enroll and fund students receiving a special class in an integrated setting (SCIS)
programming separate and apart from its State-administered prekindergarten programs,
this practice is now leading to inconsistent and limited early learning inclusion opportunities
for those preschool students with disabilities who need more than itinerant services but are
recommended to receive special education services within an early childhood program with
their typically developing peers. For example, while the historic annual enrollment for the
SCIS program in NYCDOE is approximately 4,000 students, as demonstrated above, only 317
such students were co-located in a State-administered prekindergarten classroom in 2017-
18.

Furthermore, the NYCDOE historic annual enrollment for preschool children recommended
for special class is approximately 10,000 students. As it pertains to LRE, this number
reflects the need for more comprehensive supports within the early childhood programs
administered by NYCDOE to enable the full participation and success of children with
disabilities in inclusive settings.

The number of preschool students with disabilities attending a separate setting, combined
with the limited preschool inclusion options (i.e., lack of available seats, disparity in length
of school day, and restricted school site options), contradicts NYCDOE's continued
implementation of separate program eligibility and funding structures for preschool
students with disabilities. Failure to provide increased access for preschool students with


                                                                                         Page 8
                                                                    Hyman Decl. Ex. DD- 70
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 71 of 90




disabilities to participate in the early childhood programs operated by NYCDOE violates the
requirements of LRE and is not supported by the State-administered prekindergarten
program principles and objectives to benefit children of all abilities.

Required Corrective Action
Preschool Special Education

As part of this Compliance Assurance Plan, by June 3, 2019, NYCDOE must provide to NYSED
for review and approval a corrective action plan to correct its failure to provide a free
appropriate public education to preschool students with disabilities. At a minimum, the
corrective action plan must address and/or include:
    1. Root cause analysis for each noncompliance item: Child Find, Early Childhood
       Transition, Provision of Special Education Services and Programs, and LRE.
    2. Immediate action steps to address each noncompliance item which must sufficiently
       describe NYCDOE efforts, provide an implementation timeline, and include the
       measurable goals and objectives expected to be achieved.
    3. Description of how NYCDOE plans to monitor its progress of the corrective action
       plan.
    4. Identification of NYCDOE office and specific NYCDOE staff responsible for the
       implementation of each step/action item included in the corrective action plan.
    5. Process by which the corrective action plan will be adjusted and/or amended, with
       NYSED approval.
    6. The action steps to address Child Find and Early Childhood Transition noncompliance
       must include, at a minimum:
       a. An increase in the allocation of staffing resources, including additional CPSE
            administrators to schedule and conduct CPSE meetings, and additional
            administrative staff to input data into SESIS.
       b. The corrective action plan should be specific to each of the 10 regional CSEs, with
            immediate action steps identified for the community school districts with the
            highest rates of noncompliance.
       c. A trend analysis of the last two years; and going forward, the yearly case volume
            per regional CPSE, including number of cases assigned and completed by each
            administrator and the number of cases closed by each administrator.
    7. The action steps to address the Provision of Special Education Programs and Services
       in LRE must include, at a minimum:
       a. A preschool programming action plan which fully addresses the outstanding
            monolingual and bilingual programs required to ensure the full implementation
            of preschool students' IEPs within required timelines and in alignment with the
            continuum of special education services.
       b. An increase in the allocation of staff assigned to oversee strategic planning and
            development of preschool program creation and expansions as identified on the
            February 7, 2019 regional need publication, and any subsequent regional need
            publication.



                                                                                       Page 9
                                                                  Hyman Decl. Ex. DD- 71
Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 72 of 90




c. Plan for bi-annual reporting to NYSED staff of the following items relating to
   regional need, to be disaggregated by community school district and borough:
       i. Overall number of children residing in each community school district and
          known to be enrolled in a preschool program.
      ii. Overall number of preschool students with disabilities per community
          school district and the percentage of those students enrolled in SCIS, the
          percentage of those students enrolled in SC, and the percentage of those
          students receiving SEIS.
    iii. Number of students transitioning from EI to CPSE (children turning age 3)
          during the current school year and the prior school year and the resulting
          net increase/decrease.
     iv. Number of students transitioning from CPSE to kindergarten (children
          turning age 5) during the current school year and prior school year and the
          resulting net increase/decrease.
      v. Net change in the number of preschool students with disabilities when
          comparing Turning-3 and Turning-5 data for the current school year.
     vi. Number of SCIS classroom seats per community school district, identifying
          whether the seats are in a monolingual or bilingual program, and the
          corresponding number of students with a variance attending each program
          type for the current school year and prior school year.
    vii. Number of SC classroom seats per community school district per ratio (6, 8,
          12, other) identifying whether the seats are in a monolingual or bilingual
          program and the corresponding number of students with a variance
          attending each program type for the current school year and prior school
          year.
   viii. Number of classroom seats gained via program approval and number of
          classroom seats lost via program closures per ratio and noting whether the
          classroom seats were for monolingual or bilingual programs, from the date
          of the last regional need public posting.
     ix. Number of impending program closures and the corresponding number of
          the current student enrollment per ratio in the programs to be closed.
      x. Number of students with SEIS exceeding a frequency of 20 sessions per
          week.
     xi. Number of preschool students in classes of 8 and 12 with a 1:1 aide.
    xii. Number of students per ratio on NYCDOE’s “partial services” list, identifying
          whether monolingual or bilingual (specifying the language) programs are
          being sought.
   xiii. Number of students per ratio that NYCDOE has coded as “placement delayed
          due to lack of available seats,” identifying whether monolingual or bilingual
          (specifying the language) programs are being sought; and
   xiv. Report per borough summarizing the Chairpersons’ recommendations
          regarding the need in their specific districts for multidisciplinary evaluation
          (MDE) and SEIS, including bilingual program needs.
d. Assurances and processes to ensure that preschool students with disabilities
   receive appropriate special education programs and services while enrolled in
   NYCDOE State-administered prekindergarten programs. This must include plans


                                                                                 Page 10
                                                             Hyman Decl. Ex. DD- 72
Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 73 of 90




   to incorporate SCIS program offerings within NYCDOE State-administered
   prekindergarten classrooms and eliminate any barrier to preschool students
   recommended to receive SCIS also enrolling in NYCDOE State-administered
   prekindergarten programs and receiving the full program benefits offered to all
   children.




                                                                           Page 11
                                                        Hyman Decl. Ex. DD- 73
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 74 of 90




Section II: Provision of a Free Appropriate Public
Education (FAPE) for School-Age Students with
Disabilities
NYCDOE fails to provide a free appropriate public education to students with disabilities,
aged 5 through 21 (20 U.S.C. §1412 (a)(1); 34 CFR §300.101).

New York State’s measurable and rigorous targets pursuant to its SPP, and other objective
reviews of NYCDOE data, identified the following noncompliance with respect to NYCDOE’s
obligations to school-aged students with disabilities:
    1. Failure to timely evaluate children for eligibility for school-age special education
       programs and services;
    2. Failure to provide special education programs and services as specified on the IEPs
       of students with disabilities; and
    3. Failure to provide related services.

Timely Evaluations
NYCDOE fails to timely evaluate children for eligibility for school-age special education
programs and services in accordance with 20 U.S.C. §1416(a)(3)(B); 34 CFR §300.301; 8
NYCRR §200.4 (b); see also Performance and/or Compliance Indicator 11 from the SPP.

Description of Noncompliance:

NYCDOE annually reports data under SPP Indicator 11 regarding the timeline for initial
evaluations for school-age students with disabilities to determine eligibility for special
education. Over the last four reported years, NYCDOE has not demonstrated improvement
in meeting performance targets for the percentage of children with parental consent to
evaluate, who were evaluated and whose eligibility was determined within State-established
timelines.




                                                                                    Page 12
                                                                Hyman Decl. Ex. DD- 74
        Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 75 of 90




             SPP I NDI CATO R 1 1 SCHO O L AG E CO MPLI A NCE RAT E
                                 NYCDOE       NYS Data       NYS Target

 100%
               100%                  100.0%                100.0%                 100.0%
  95%

  90%

  85%

  80%          82.8%                 82.2%                  83.0%
                                                                                   81.6%

  75%
                                                                                   74.5%
  70%                                72.9%
               71.4%                                        71.6%

  65%

  60%
             2014-15                2015-16               2016-17                2017-18


             Percentage of Children with Parental Consent to Evaluate, who were Evaluated
                     and Eligibility Determined Within State Established Timelines

Monthly data reports generated for July through October 2018 show that, at any given time,
there were an average of approximately 1,132 open school-age cases that had exceeded SPP
Indicator 11 timelines. Two of the 10 regional CSEs had an average exceeding 290 cases per
month where initial evaluations were not completed within 60 days of parental consent.

Programs and Services
NYCDOE fails to provide special education programs and services as specified on the IEPs of
students with disabilities, including students who attend community schools, District 79, and
charter schools. NYCDOE fails to ensure the provision of FAPE to these students in
accordance with their IEPs [20 U.S.C. §1414(d)(2)(A), (d)(3); 34 CFR §§300.323,
300.324(a)(2); Educ. Law §§4402(2)(a), 2851(2)(s) and 2853(4); 8 NYCRR §200.4(e)(7)].

Community School Districts

NYCDOE self-reports data documenting that it fails to provide programs and services to
students attending community school districts in violation of 20 U.S.C. §§1412(a)(1), 1414
(d)(2)(A); 34 CFR §§300.101, 300.323; Educ. Law §4402 (2)(a); 8 NYCRR §200.4 (e)(7).




                                                                                            Page 13
                                                                          Hyman Decl. Ex. DD- 75
        Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 76 of 90




Description of Noncompliance:

In November 2018, NYCDOE released its NYCDOE Local Law of 2015 Annual Report on
Special Education, School Year 2017-18 (Annual Report)8. The Annual Report indicated that:
   • 143,394, students (78.4 percent) were fully receiving their mandated IEP special
       education programs and services;
   • 34,906 students (19.1 percent) were only partially receiving their mandated IEP
       special education programs and services; and
   • 4,495 students (2.5 percent) were not receiving any of their mandated IEP special
       education programs and services.

District 79

NYCDOE requires that students attending the Pathways to Graduation program waive their
right to IEP-mandated special education services in violation of 20 U.S.C. §§1412(a)(1), 1414
(d)(2)(A); 34 CFR §§300.101, 300.323; Educ. Law §4402 (2)(a); 8 NYCRR §200.4 (e)(7).

Description of Noncompliance:

By letter dated March 14, 2013, NYSED’s Counsel instructed NYCDOE that school districts
and State agencies that provide alternative high school equivalency programs (AHSEP) and
high school equivalency programs (HSEP) are required to provide special education
programs and services to students with disabilities enrolled in such programs. Additionally,
when seeking program approval, school districts are required to assure NYSED that special
education services are being provided to students with disabilities attending these
programs.

By letter dated February 29, 2016, NYSED instructed NYCDOE to revise its policies and
procedures requiring that students waive their right to special education when enrolling in
the Pathways to Graduation (P2G) program, formerly known as GED+. NYCDOE responded
on March 17, 2016, stating that they were reviewing the matter with their general counsel.
NYCDOE reports that as of January 31, 2019, there were 1,631 students with disabilities
attending P2G programs. To date, NYCDOE continues to require that students waive their
right to special education programs and services upon enrolling in the P2G program.




8
 NYCDOE Local Law of 2015 Annual Report on Special Education, School Year 2017-18 (Annual Report)
https://drive.google.com/file/d/1FlWLINlqzdm1_Ypw6WJ_HYyBNtJJqQvr/view



                                                                                                    Page 14
                                                                             Hyman Decl. Ex. DD- 76
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 77 of 90




Charter Schools

NYCDOE fails to ensure that students with disabilities who attend charter schools are
receiving mandated IEP programs and services in accordance with Education Law 20 U.S.C.
§§1412(a)(1), 1414(d)(2)(A); §§34 CFR 300.101, 300.323; Educ. Law §§2851(2)(s), 2853(4)
and 4402 (2)(a); 8 NYCRR §200.4 (e)(7).

Description of Noncompliance:

Based upon the findings of multiple State complaints filed on behalf of students attending
charter schools in New York City and the corresponding compliance assurance plans, NYSED
determined that NYCDOE failed to adequately demonstrate the implementation of
administrative procedures that demonstrate the actions taken by the CSE to ensure:
   1. Students are receiving mandated IEP programs and services in charter schools;
   2. timely follow-up actions are taken upon notification that mandated IEP programs and
       services are not being provided; and
   3. Progress monitoring of students with disabilities attending charter schools is
       occurring, including convening the CSE to review, and if appropriate, reevaluate the
       student.

Failure to Provide Related Services as Required on Students’ IEPs

NYCDOE fails to provide related services to students with disabilities as recommended on
students’ IEPs in accordance with 20 U.S.C. §§1412(a)(1), 1414(d)(2)(A); 34 CFR §§300.101,
300.323; Educ. Law §4402(2)(a); 8 NYCRR §§200.2(d), 200.4(e)(7).

Description of Noncompliance:

The November 2018, NYCDOE Local Law of 2015 Annual Report on Special Education, School
Year 2017-18 (Annual Report), referenced above, indicated that:
   • 274,209 (95.7 percent) related service mandates had a matching encounter recorded
      by a provider in SESIS;
   • 10,481 (3.7 percent) related service mandates had no matching encounter recorded
      by a provider in SESIS; and
   • 1,718 (.6 percent) related service mandates had only a partially matching encounter
      recorded by a provider in SESIS.

Required Corrective Action
Provision of Services to School-Age Students with Disabilities

As part of this compliance assurance plan, by June 3, 2019, NYCDOE must provide to NYSED
for review and approval a corrective action plan to correct its failure to provide a free
appropriate public education to school-age students with disabilities. At a minimum, the
corrective action plan must address and/or include:


                                                                                    Page 15
                                                                Hyman Decl. Ex. DD- 77
   Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 78 of 90




1. Root cause analysis for each noncompliance item: Timely Evaluations; Provision of
   Special Education Services and Programs in community school districts, District 79,
   and charter schools.
2. Immediate action steps to address each noncompliance item which must sufficiently
   describe NYCDOE efforts, provide an implementation timeline, and include
   measurable goals and objectives expected to be achieved.
3. Description of how NYCDOE plans to monitor its progress of the corrective action
   plan.
4. Identification of NYCDOE office and specific NYCDOE staff responsible for the
   implementation of each step/action item included in the corrective action plan.
5. Process by which the corrective action plan will be adjusted and/or amended, with
   NYSED approval.
6. The action steps to address timely evaluations noncompliance must include, at a
   minimum:
   a. An increase in the allocation of staffing resources, including additional CSE
      administrators to schedule and conduct CSE meetings, and additional
      administrative staff to input data into SESIS.
   b. The corrective action plan should be specific to each of the 10 regional CSEs, with
      immediate action steps identified for the community school districts with the
      highest rates of noncompliance.
   c. A trend analysis of the last three years analyzing the yearly case volume per
      regional CSE, including number of cases assigned to each administrator and the
      number of cases closed by each administrator, broken down monthly.
7. The action steps to address the Provision of Special Education Programs and Services
   must include, at a minimum:
   a. An audit of all students with disabilities with outstanding delivery of programs
      and related service mandates and next steps to ensure the full delivery of all IEP
      programs and mandated related services within required timelines and in
      alignment with the continuum of special education services.
          i. Provide quarterly reports on the use of Related Service Authorizations
              (RSA) and submit a plan to reduce the use of RSAs.
   b. With respect to community school districts, the corrective action plan must
      include, at a minimum:
          i. Borough, community school district, and school location of all outstanding
             programs and related services with specific caseload data.
         ii. Program and related service types.
       iii. Schedule of field support center (FSC) meetings with managers of school
             psychologists and related service providers and executive and community
             school district superintendents to review and develop corrective steps in
             resolving the outstanding programs and related services.
        iv. A complete list of all schools that have unserved and/or partially served
             students which identifies each student and the IEP mandates that are either
             not being provided or only partially being provided. For each school on the
             list, a school-specific plan that identifies reasons for the unserved and/or
             partially served students, the action steps that will be taken to address any



                                                                                  Page 16
                                                               Hyman Decl. Ex. DD- 78
Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 79 of 90




         failure to fully implement these IEPS, and the date of fulfillment of all IEP
         programs and related services mandates.
c. With respect to District 79, the corrective action plan must include, at a minimum:
      i. List of District 79 program locations with their outstanding programs and
         related services with specific caseload data.
     ii. Schedule of meetings with District 79 leadership and principals to review all
         special education programs and related services mandates.
    iii. Administrative procedures for obtaining IEPs of students enrolled in
         alternative schools and programs and for ensuring students with disabilities
         enrolled in alternative schools and programs have timely IEP reviews and
         receive CSE-recommended special education programs and services.
    iv. A complete list of all District 79 students who are unserved and/or partially
         served and the IEP mandates that are either not being provided or only
         partially being provided.
     v. Evidence that NYCDOE no longer requires that students waive their right to
         special education programs and services upon enrolling in the P2G program.
d. With respect to charter schools, the corrective action plan must include, at a
   minimum:
      i. Administrative procedures ensuring charter schools document the
         provision of special education programs and services and that the CSE can
         demonstrate the provision of these services;
     ii. Administrative procedures describing the actions the CSE must take,
         including timelines, to proactively ensure that the IEPs of students with
         disabilities enrolled in charter schools are implemented without delay at the
         beginning of the school year and following an initial evaluation or
         reevaluation of the educational needs of a student;
    iii. Administrative procedures, including timelines, describing the actions the
         CSE must take when notified that a charter school is unable to provide a
         special education program or service recommended in the IEP of an enrolled
         student;
    iv. Documentation of the professional learning activities provided to the staff
         responsible for the development, review, and implementation of IEPs for
         students with disabilities enrolled in charter schools;
     v. Schedule and calendar of topics of the above-referenced professional
         learning activities and assurance that a list of all participants will be
         maintained; and
    vi. Documentation provided to each charter school serving NYC resident
         students with disabilities in the jurisdiction of NYCDOE that administrative
         procedures requiring a shared responsibility with charter schools to ensure
         the implementation of mandated IEP services occurs and student progress
         is monitored.




                                                                              Page 17
                                                           Hyman Decl. Ex. DD- 79
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 80 of 90




Section III: Affording Students with Disabilities
and Their Parents All the Rights and Procedural
Safeguards Required by Federal and State Law and
Regulations
Pursuant to its general supervisory responsibility and authority under IDEA, NYSED is
responsible for ensuring that the requirements of Part B of IDEA are followed, including
ensuring that each public agency establishes, maintains, and implements procedural
safeguards that meet the requirements of 34 CFR §§300.500 through 300.536. NYCDOE fails
to afford students with disabilities and their parents with required procedural safeguards.
Data indicates that NYCDOE receives the largest number of due process complaints filed with
an LEA in the United States. NYCDOE fails to provide parents access to adequate due process
after a complaint has been filed, fails to provide access to due process data, fails to ensure
access to mediation, and fails provide prior written notice (PWN) (20 U.S.C. §1415(a), (b)(3),
(e), (f); 34 CFR §§300.500, 300.503, 300.506, 300.511; Educ. Law §§ 4402, 4404; 8 NYCRR
§§200.5(a), (h), (j) and 200.16(h).

NYSED identified the following noncompliance with respect to NYCDOE’s obligations to
maintain a functioning due process hearing system:
   1. Fails to provide parents access to adequate due process after a complaint has been
      filed;
   2. Fails to provide access to due process data to NYSED;
   3. Fails to ensure access to mediation; and
   4. Fails to provide prior written notice.

Maintenance of a Functional Due Process Hearing System
Failure to Provide Due Process to Parents

Parents may file a due process complaint with respect to any matter relating to the
identification, evaluation, or educational placement of their child or the provision of FAPE.
Once a due process complaint is filed, an Impartial Hearing Officer (IHO) must immediately
be appointed, but not later than two business days after receipt of the complaint, and the
hearing or prehearing conference must commence within 14 days after any resolution
period, if not earlier. [20 U.S.C. §1415(a); 34 CFR §300.500 et seq.; Educ. Law §4404; 8
NYCRR §§200.5(e), (j); 200.5(j)(3), 200.5(m)].

Description of Noncompliance:

Data indicates that NYCDOE has received an increasing number of due process complaints
over recent years:



                                                                                      Page 18
                                                                   Hyman Decl. Ex. DD- 80
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 81 of 90




               Total Number of NYCDOE Due Process Complaints Filed
             2015-16                                                5,026
             2016-17                                                5,779
             2017-18                                                7,144
             2018-19 (July 1, 2018 – February 22, 2019)             7,448

Significantly more due process hearings are filed in NYCDOE as compared to districts in the
rest of the State.



              Percent of Total Complaints Filed in New York City (NYC) and
                                  Rest of State (ROS)
                                                       7635 Total           7759 Total
      8000

      7000
                                     6282 Total
      6000        5464 Total

      5000

      4000                                                NYC 94%            NYC 96%
                                     NYC 92%
      3000        NYC 92%
      2000

      1000

         0         ROS 8%             ROS 8%              ROS 6%              ROS 4%
                   2015-16            2016-17             2017-18       2018-19 as of 2/22/19


NYSED has documented that NYCDOE requires a hearing or IHO determination for pendency,
even when a student's pendency is not in dispute, unnecessarily adding to the number of due
process complaints filed. In addition, NYCDOE does not defend numerous cases at hearing,
but rather admits that it did not provide FAPE and does not offer to settle these cases, adding
to the unacceptable number of due process complaints filed.i

An independent report commissioned by NYSED and attached hereto (Appendix D), has
documented that IHOs, certified by NYSED to serve in New York City, are subject to a
convoluted compensation policy, effectively paying them at a rate of $40 per hour for many
tasks, although the State-authorized maximum compensation rate is up to $100 per hour.
Part of the explanation for the reduced pay is that NYCDOE’s Impartial Hearing Office
(NYCIHO) processes and distributes IHO decisions rather than the IHOs themselves. Because
of shortages in staff at NYCIHO, however, this practice has resulted in hearing decisions being


                                                                                         Page 19
                                                                    Hyman Decl. Ex. DD- 81
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 82 of 90




issued after the compliance date. Additionally, IHOs are often not paid for months at a time
because inadequate funds are allocated to the payment of IHOs.

The report further documented that:
   • NYCIHO's physical space is limited and inadequate;
   • Hearings are only held in NYCDOE's Brooklyn North FSC location and not in the other
       boroughs in New York City;
   • Hearings are not scheduled for a full day and may be limited to one hour due to
       limited space availability;
   • There are 10 hearing rooms with, on average, 122 calendared matters per day for
       those rooms;
   • There is inadequate waiting room space for parents, attorneys, and witnesses, and
       the lunch room also serves as the holding room for NYCDOE’s reassigned teachers;
   • Hearing spaces are uncomfortably hot or cold requiring doors to remain open during
       hearings, violating the confidentiality of students, there is limited access to amenities,
       and the space is unkempt.

NYCIHO utilizes an automatic IHO appointment process, whereby an IHO is granted access
to a case file before his/her availability is confirmed. Under this process, NYSED has
documented that IHOs frequently recuse themselves from cases to maintain manageable
caseloads and because of their unwillingness to handle certain hearing matters. NYCIHO had
5,634 recusals during the 2017-18 school year and already has over 7,000 for the 2018-19
school year. This practice results in a process at NYCIHO where many parents are not
receiving an appointed IHO who will maintain the case long enough to commence the hearing
process within the required timeframes.

Failure to Provide Due Process Data

NYCDOE is required to regularly provide data, as well as copies of rendered IHO decisions,
to NYSED in order for NYSED to maintain accurate due process data [8 NYCRR
200.5(j)(3)(xvi), 200.5(j)(5)].

Description of Noncompliance:

NYSED has documented that NYCIHO has failed to timely enter data to NYCIHO’s Impartial
Hearing System for download to NYSED’s data system and has failed to mail NYSED copies
of IHO decisions. Of the 1,754 decisions rendered in calendar year 2018, only 168 have been
provided to NYSED.

Failure to Ensure Access to Mediation

NYCDOE is required to ensure that mediation procedures are established and implemented
so that disputes may be resolved outside of the hearing process [20 U.S.C. §1415(e); 34 CFR
§§300.508, 300.148; 8 NYCRR §§200.5(h), 200.5 (j)].



                                                                                         Page 20
                                                                     Hyman Decl. Ex. DD- 82
          Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 83 of 90




Description of Noncompliance:

NYCDOE’s Standard Operating Procedure Manual (SOPM) does not allow mediation of issues
pertaining to unilateral placements in non-NYSED-approved schools. Additionally,
NYCDOE’s SOPM and “Resolving Issues” webpage9 inform parents that requests for
mediation may be made directly to the Community Dispute Resolution Center or Parent
Centers; however, NYSED’s guidance and the procedural safeguards notice (PSGN) state that
requests must be made to the district or CSE (CPSE). NYCDOE is not resolving or attempting
to resolve enough matters through mediation, considering the large number of due process
complaints filed, and its policies discourage mediation.

                Total Number of NYCDOE Mediations                         Requested     Held
    2014-15                                                                 244          133
    2015-16                                                                 258          129
    2016-17                                                                 231          115
    2017-18                                                                 214          126

Prior Written Notice (PWN)
NYCDOE fails to consistently provide parents PWN on the form prescribed by the
Commissioner of Education as required by 8 NYCRR §200.5(a) and a reasonable time before
the school district proposes or refuses to initiate or change the identification, evaluation, or
educational placement of the student or the provision of FAPE to the student in accordance
with 20 U.S.C. §§1412(a)(6) and 1415(b)(3); 34 CFR §300.503; 8 NYCRR §§200.5(a) and
200.16(h)(1).

Description of Noncompliance:

As part of a monitoring review conducted during the 2017-18 school year, NYCDOE was
required to submit PWNs for a selected sample of students. Upon review, NYSED identified
the following procedural and/or substantive issues with NYCDOE's PWNs:
    1. NYCDOE failed to provide PWN to parents within a reasonable time before the school
        district proposed or refused to initiate or change the identification, evaluation,
        educational placement of students, or the provision of FAPE to students to provide
        parents a reasonable time to consider and respond to the action before it is
        implemented;
    2. NYCDOE provided parents PWN using its own templates, not the State’s mandatory
        PWN form as required by 8 NYCRR §200.5(a)(1). NYCDOE’s form failed to inform
        parents of the information they need and are entitled to have under 34 CFR §300.503
        and 8 NYCRR §200.5(a)(3).
    3. For preschool students with disabilities, through monthly meetings during the 2017-
        18 school year with CSE chairpersons and review of case studies, it was determined
        that the CPSEs within the 10 regional CSEs did not consistently utilize PWN at the


9
    https://www.schools.nyc.gov/special-education/help/resolving-issues
                                                                                           Page 21
                                                                           Hyman Decl. Ex. DD- 83
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 84 of 90




      required times, consistent with the requirements of 8 NYCRR §200.16(h)(1),
      specifically:
      a. For initial evaluations, PWNs were not sent to parents in the evaluation packets.
      b. For initial evaluations, multi-disciplinary evaluation agencies/sites send emails to
         CPSEs requiring additional evaluations, and PWNs were not provided to parents
         when additional evaluations were to be conducted.
      c. For requested IEP reviews and annual reviews, CPSEs used NYCDOE’s Final Notice
         of Recommendation form in lieu of the State’s mandatory PWN form.
   4. CSE and CPSE administrators have reported insufficient professional development
      and guidance regarding the use of PWN and have reported that the State’s required
      form is not accessible in SESIS.

Required Corrective Action
As part of this compliance assurance plan, by June 3, 2019, NYCDOE must:
   1. Increase the number of staffing resources to NYCIHO.
   2. Procure additional hearing space and improve the existing hearing space in
       appearance, ventilation and amenities, including a separate area for NYCDOE
       reassigned teachers.
   3. Address how it will ensure that allocation of resources is adequate to ensure regular,
       prompt payment to IHOs.

By June 17, 2019, NYCDOE must provide to NYSED a corrective action plan to correct its
failure to provide students with disabilities and their parents all the rights and procedural
safeguards required by federal and State law and regulations. At a minimum, the corrective
action plan will address and/or include:
    1. Provide a plan to revise its IHO compensation policy, subject to NYSED approval.
    2. Immediate action steps to address each noncompliance item which must sufficiently
        describe NYCDOE efforts, provide an implementation timeline, and include
        measurable goals and objectives expected to be achieved.
    3. Description of how NYCDOE plans to monitor its progress of the corrective action
        plan.
    4. Identification of NYCDOE office and specific NYCDOE staff responsible for
        implementation of each step/action item included in the corrective action plan.
    5. Process by which the corrective action plan will be adjusted and/or amended, with
        NYSED approval.
    6. With respect to failure to maintain a functioning due process system, the corrective
        action plan must include, at a minimum, the following additional action steps:
        a. Root cause analysis of the specific reasons for due process requests, including, but
            not limited to, the volume of cases in which NYCDOE concedes its failure to
            provide FAPE and why it does not or is unable to provide FAPE, and whether those
            cases should be resolved through settlement processes, broken down by
            community school district.
        b. How it will increase the use of mediation and IEP facilitation.
        c. How it will reduce its volume of due process impartial hearing requests.


                                                                                       Page 22
                                                                   Hyman Decl. Ex. DD- 84
   Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 85 of 90




   d. Eliminate NYCIHO’s role in processing and distributing hearing decisions for
       IHOs. IHOs will be responsible for completing, dating redacting and sending their
       own decisions.
   e. Ensure IHO availability before appointment. If within 24 hours an IHO fails to
       respond or is unreachable after reasonable efforts by NYCDOE (which must be
       documented), each successive IHO whose name appears next on the rotational
       appointment list shall be offered appointment until such appointment is accepted.
   f. Ensure uncontested pendency matters are not brought before IHOs.
   g. Ensure that staff representing NYCDOE at due process hearings are authorized to
       enter into settlement or may do so subject to approval, which approval will take
       no longer than 30 days after request for approval, which request will be made no
       later than 5 days after agreement has been reached.
7. With respect to PWN, the corrective action plan must include, at a minimum, the
   following additional action steps:
   a. Administrative procedures must be instituted to ensure that all PWNs are
       provided to parents on the State’s mandatory PWN form, including
       documentation of the directive to all CSEs, CPSEs, and Subcommittees requiring
       the use of the State’s mandatory form.
   b. Administrative procedures must be instituted to ensure that PWN is issued within
       a reasonable time before NYCDOE proposes to or refuses to initiate or change the
       identification, evaluation, educational placement of students, or the provision of
       FAPE to students.
   c. A schedule for the updates to SESIS to ensure that all generated PWNs are in
       compliance with 8 NYCRR §200.5(a); and
   d. A schedule and supporting documentation of the Inclusive Schools Learning
       Collaborative professional training activities provided to all staff responsible for
       the issuance of the prior written notices.




                                                                                   Page 23
                                                               Hyman Decl. Ex. DD- 85
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 86 of 90



Verification of Compliance
Technical Assistance and Support

NYSED will work in collaboration with NYCDOE to provide ongoing and targeted support to
assist NYCDOE in developing a plan to address the issues identified in this compliance
assurance plan and achieve the prescribed corrective actions. Support will be provided by
NYSED’s Office of Special Education leadership and staff from its Central Office and Special
Education Quality Assurance New York City Regional Office, as well as its funded technical
assistance partners to support NYCDOE in reviewing and revising policies, identifying
improvement strategies, and implementing practices necessary to ensure compliance with
IDEA requirements and improved results for students with disabilities.

Monthly Progress Status Reports

NYSED's Office of Special Education leadership will schedule progress monitoring meetings
at least monthly with NYCDOE special education leadership to review the status of corrective
action steps.

At these monthly meetings, a schedule of which is attached hereto as Appendix E, NYCDOE
must present a written status update regarding the initial drafting and/or amendment of the
corrective action plans, as well as the progress of those corrective action plans, including, at
a minimum:
    1. Immediate action steps to address each noncompliance item, which must sufficiently
       describe NYCDOE efforts, provide an implementation timeline, and include the
       measurable goals and objectives expected to be achieved.
    2. Description of how NYCDOE plans to monitor its progress of the corrective action
       plan.
    3. Identification of NYCDOE office and specific NYCDOE staff responsible for the
       implementation of each step/action item included in the corrective action plan.
    4. Documentation that demonstrates the completion of the immediate action steps
       required by June 3, 2019, as documented in the “Failure to Afford Students with
       Disabilities and Their Parents All the Rights and Procedural Safeguards Required by
       Federal and State Law and Regulations” above.
    5. Technical assistance and review of requested CAP deliverables from the previous
       month’s monitoring meeting.




                                                                                        Page 24
                                                                    Hyman Decl. Ex. DD- 86
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 87 of 90




Appendices
1. Appendix A, New York State Education Department 2018 Criteria for School District
   Determinations under the Individuals with Disabilities Education Act (IDEA).
   http://www.p12.nysed.gov/specialed/spp/nysdeterminations/documents/determinat
   ion-criteria-2018.pdf
2. Appendix B, Letter from Christopher Suriano, Assistant Commissioner, to Richard
   Carranza, Chancellor (February 15, 2019) regarding 2018 Accountability Status under
   Part B of the Individuals with Disabilities Education Act (IDEA).
3. Appendix C, School Communities Inclusive of All Students Action Plan 2018-19.
4. Appendix D, “An External Review of the New York City Impartial Hearing Office.”
5. Appendix E, Compliance Assurance Plan Monthly Progress Status Report.




                                                                                     Page 25
                                                               Hyman Decl. Ex. DD- 87
      Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 88 of 90




Related Documents of Interest
1. State Performance Plan/Annual Performance Report, Indicator Results;
   https://data.nysed.gov/lists.php?type=district

2. Annual IDEA district determinations;
   http://www.p12.nysed.gov/specialed/spp/nysdeterminations/home.html

3. Special Education Preschool Regional Need List;
   http://www.p12.nysed.gov/specialed/publications/preschool/regional-need.html

4. NYCDOE Standard Operating Procedures Manual (SOPM);
   https://infohub.nyced.org/partners-and-providers/special-ed-partners/standard-
   operating-procedures-manual

5. Prior Written Notice Form;
   http://www.p12.nysed.gov/specialed/formsnotices/PWN/home.html

6. NYCDOE Local Law of 2015 Annual Report on Special Education, School Year 2017-18
   (Annual Report)
   https://drive.google.com/file/d/1FlWLINlqzdm1_Ypw6WJ_HYyBNtJJqQvr/view

7. United States Department of Education, Office of Special Education Programs: Dispute
   Resolution Procedures under Part B of the Individuals with Disabilities Education Act
   (Part B)
   https://www2.ed.gov/policy/speced/guid/idea/memosdcltrs/acccombinedosersdispu
   teresolutionqafinalmemo-7-23-13.pdf




                                                                                 Page 26
                                                               Hyman Decl. Ex. DD- 88
       Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 89 of 90




Acronyms and Abbreviations
CSE             Committee on Special Education
CPSE            Committee on Preschool Special Education
EI              Early Intervention
FAPE            Free Appropriate Public Education
FSC             Field Support Center
IHO             Impartial Hearing Officer
IDEA            Individuals with Disabilities Education Act
IEP             Individualized Education Program
ISLC            Inclusive Schools Learning Collaborative
LEA             Local Educational Agency
LRE             Least Restrictive Environment
MDE             Multidisciplinary Evaluation
NYCDOE          New York City Department of Education
NYCIHO          New York City Impartial Hearing Office
NYSED           New York State Education Department
PSGN            Procedural Safeguards Notice
PWN             Prior Written Notice
ROS             Rest of State
SC              Special Class
SCIS            Special Class in an Integrated Setting
SEIS            Special Education Itinerant Services
SESIS           Special Education Student Information System
SOPM            Standard Operating Procedures Manual
SPP             State Performance Plan



iM.M. v. New York City Dep't of Educ., 2017 WL 1194685, at *4 (S.D.N.Y. Mar. 30, 2017) (“At the April
8, 2014 hearing, both parties proposed evidence on the record ... Defendants conceded that they had
failed to provide [the student] a FAPE and did not call any witnesses.”)

L.K. v. New York City Dep't of Educ., 2016 WL 899321, at *4 (S.D.N.Y. Mar. 1, 2016), aff'd in part,
remanded in part, 674 F. App'x 100 (2d Cir. 2017) (“On March 19 and March 26, 2014, a[n] ...IHO ....
held a hearing on the Parents' Due Process Complaint. The Department conceded at the hearing that
it had not provided [the student] a FAPE for the 2013-14 school year.”) (internal citations omitted)

M.W. v. New York City Dep't of Educ., 2015 WL 5025368, at *4 (S.D.N.Y. Aug. 25, 2015) (“Defendants
concede they failed to provide [the student] with a FAPE for eleven years. This was not a deviation
from an IEP, it was a catastrophic oversight ....”)

A.R. ex rel. F.P. v. New York City Dep't of Educ., No. 12 CIV. 4493 PAC, 2013 WL 5312537, at *3 (S.D.N.Y.
Sept. 23, 2013) (“DOE concedes that it did not offer the Student a FAPE for the 2010–11 school year”)




                                                                                                 Page 27
                                                                          Hyman Decl. Ex. DD- 89
        Case 1:21-cv-11150-ALC Document 9-30 Filed 01/11/22 Page 90 of 90




M.F. v. New York City Bd. of Educ., 2013 WL 2435081, at *2 (S.D.N.Y. June 4, 2013) (“Here, DOE
conceded at the impartial hearing that the placement it offered to [the student] was not appropriate
... Given DOE's concession that it did not offer [the student] a FAPE for the 2010–11 school year, the
first prong of the Burlington/Carter test is satisfied.”) (internal citations omitted)

S.H. v. New York City Dep't of Educ., 2011 WL 609885, at *5 (S.D.N.Y. Feb. 18, 2011) (“At the hearing,
DOE conceded that it had not provided [the student] with a FAPE for the 2008–09 school year”)

E. Z.-L. ex rel. R.L. v. New York City Dep't of Educ., 763 F. Supp. 2d 584, 590 (S.D.N.Y. 2011), aff'd sub
nom. R.E. v. New York City Dep't of Educ., 694 F.3d 167 (2d Cir. 2012) (“At the impartial hearing, the
DOE conceded that it failed to offer a FAPE to the child ...”)

R.B. v. New York City Dep't of Educ., 713 F. Supp. 2d 235, 241 (S.D.N.Y. 2010)
(“At the hearing, the DOE conceded that, by not offering C.Z. a placement for the 2007–2008 school
year, it had failed to provide C.Z. with a FAPE ....”)

Stevens ex rel. E.L. v. New York City Dep't of Educ., 2010 WL 1005165, at *4 (S.D.N.Y. Mar. 18, 2010)
(“At the impartial hearing, the defendant conceded that it had not provided a FAPE for the Student
for the 2007–08 school year.”)

N.R. ex rel. T.R. v. Dep't of Educ. of City Sch. Dist. of City of New York, 2009 WL 874061, at *4 (S.D.N.Y.
Mar. 31, 2009) (“At an impartial hearing requested by Plaintiff, the Department conceded its failure
to provide a free and appropriate education”)




                                                                                                  Page 28
                                                                            Hyman Decl. Ex. DD- 90
